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               ORAL ARGUMENT NOT YET SCHEDULED

                               No. 25-5109


            IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


                          ASSOCIATED PRESS,
                                         Plaintiff-Appellee,

                                    v.

               TAYLOR BUDOWICH, in his official capacity
                as White House Deputy Chief of Staff, et al.
                                          Defendants-Appellants.


               On Appeal from the United States District Court
             for the District of Columbia, No. 1:25-cv-532-TNM
                         Hon. Trevor N. McFadden, J.


         PLAINTIFF-APPELLEE THE ASSOCIATED PRESS’S
        EMERGENCY PETITION FOR REHEARING EN BANC

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            INTRODUCTION AND RULE 40(b)(2) STATEMENT

      The decision of the divided special panel, allowing the government to

discriminate and retaliate against Plaintiff-Appellee the Associated Press (“the

AP”) on the basis of protected speech, empowers the White House to violate the

First Amendment of the United States Constitution. The Court should promptly

grant rehearing en banc and vacate the panel’s ruling.

      In mid-February 2025, the government barred AP journalists from attending

events open to the White House press pool and press corps. The President was

blunt: he retaliated against the AP for its decision to continue using the name Gulf

of Mexico after he partially renamed it the Gulf of America. On April 8, the

District Court found that the AP is likely to establish that the government violated

its First Amendment rights, the AP was irreparably harmed, and the balance of

equities and public policy favored the AP. With a well-reasoned decision based on

detailed evidentiary findings, the District Court entered a preliminary injunction

requiring the government to “immediately rescind” this viewpoint-discriminatory

and retaliatory access ban.

      A divided special panel of this Court stayed that ruling in part, dismissing

the District Court’s analysis and instead concluding that the AP is unlikely to

succeed on the merits or be harmed by a stay. The panel stayed the preliminary

injunction as to “the Oval Office, Air Force One, Mar-a-Lago, and other similar




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spaces,” but not as to other restricted spaces used for larger events open to the

press corps, such as the White House East Room. June 6, 2025 Order (“Order”) at

26 (attached as Addendum A). Yet the panel’s order, as Judge Pillard explained in

dissent, rests on “a novel and unsupported exception to the First Amendment’s

prohibition of viewpoint-based restrictions of private speech” and “an equally

unprecedented notion of harm to presidential ‘independence’” from pool coverage.

Id. at 53 (Pillard, J., dissenting).1 That decision conflicts with binding precedent

and raises questions of exceptional importance, affecting whether officials may

discriminate and retaliate against journalists in an effort to compel them – and the

public – to use government-approved language. FRAP 40(b)(2).

                                   BACKGROUND

         A.    The AP and the White House Press Pool
         The AP is one of the world’s oldest and most trusted news organizations,

reaching four billion people daily. Am. Compl. ¶ 5 (ECF 26). The AP is also

known for its Stylebook, which offers standards for usage, spelling, and grammar.

Id. ¶ 10. For decades, the press pool has accompanied the President nearly

everywhere he goes, serving as the public’s eyes and ears. Id. ¶¶ 6, 37. The AP

also attends events open to the White House press corps, in larger spaces such as

the East Room. Id. ¶ 7.


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      The modern pool traditionally included at least three wire reporters

(including one from the AP), four photographers (including one from the AP),

three network television journalists, a radio correspondent, and at least one print

reporter. Id. ¶ 32. By observing events firsthand, AP pool reporters gain key

insights and publish wire reports and photos “in real time.” See Prelim. Inj. Order

at 24-25 (ECF 46) (“Injunction Order”).

      B.     The White House Tries to Coerce the AP into Changing its
             Journalism
      On January 20, 2025, President Trump issued an Executive Order renaming

the portion of the Gulf of Mexico within the United States as the Gulf of America.

Exec. Order No. 14172. In response, the AP decided to refer to the Gulf of Mexico

“by its original name while acknowledging the new name” to “ensure that place

names and geography are easily recognizable to all audiences.” Am. Compl. ¶ 51.

      On February 11, 2025, White House Press Secretary Karoline Leavitt told

AP Chief White House Correspondent Zeke Miller that AP journalists would not

be permitted in the Oval Office as pool members unless the AP revised its

Stylebook to refer to the Gulf of America. Id. ¶ 49. The AP declined to reverse its

editorial decision. Id. ¶ 53. White House staff barred AP text journalists from

events starting that day. Id. ¶ 54. The AP promptly objected. Id. ¶¶ 55, 57.

Leavitt defended the decision during a press briefing by branding the AP’s use of

the Gulf of Mexico name “lies.” Id. ¶ 58.



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       On February 14, 2025, White House Deputy Chief of Staff Taylor Budowich

posted online that AP journalists were now barred from “access to limited spaces,

like the Oval Office and Air Force One” for this reason. Id. ¶ 63. Budowich

further claimed, falsely, that the AP had a “commitment to misinformation.” Id.

On February 18, 2025, White House Chief of Staff Susan Wiles told the AP that its

Stylebook was “divisive and partisan” and that it should use the Gulf of America

name “as an American guideline.” Id. ¶ 68.

       C.    The AP Files Suit to Vindicate its Constitutional Rights

       The AP filed this lawsuit on February 21, 2025 to vindicate its First and

Fifth Amendment rights. Id. ¶¶ 21-22, 73. The District Court declined the AP’s

request for a temporary restraining order to allow for expedited briefing and fact-

finding, but instructed the government to reconsider whether “what they’re doing

is really appropriate in light of the case law,” which “is uniformly unhelpful” to it.

Id. ¶ 80.

       Undeterred, the White House continued punishing journalists. Leavitt

announced at a February 25, 2025 press briefing that White House officials, rather

than the White House Correspondents Association, would now select the pool. Id.

¶ 81. Through mid-April, AP White House journalists were excluded from all

events open to the pool and many events open to the larger press corps. See

Injunction Order at 5.




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      D.     The District Court Grants a Preliminary Injunction
      Given these developments, the AP filed an amended complaint and

preliminary injunction motion on March 3, 2025. On April 8, 2025, the District

Court issued a 41-page ruling granting injunctive relief on the AP’s First

Amendment viewpoint discrimination and retaliation claims. Id.2 Based on

binding precedent and the facts developed during a six-hour evidentiary hearing,

the District Court ordered the government to “immediately rescind” its access ban.

Id. at 41 (emphasis added). It also entered a brief stay until April 13. Apr. 8, 2025

Order (ECF 47). The government sought an extended stay in the District Court,

which the District Court flatly denied, Apr. 11, 2025 Mem. Order (ECF 55) (“Stay

Denial Order”), then filed an emergency motion for an administrative stay and stay

pending appeal in this Court.

      E.     The Divided Special Panel Grants a Partial Stay

      The special panel did not enter an administrative stay and thus permitted the

injunction to take effect on April 14. It held oral argument on April 17.

      On June 6, the divided panel granted a stay pending appeal in part. The

majority concluded that the government would likely prevail on the merits as to the

press pool because the Oval Office and other spaces open to the pool are not



2
 The District Court noted that it therefore “need not reach the AP’s Fifth
Amendment due process, right to petition, or compelled speech claims.” Id. at 39.


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subject to First Amendment forum analysis, permitting viewpoint discrimination.

Order at 9-21. The panel further held that the government was likely to prevail on

the retaliation claim, as the government was entitled to use its “bully pulpit” to

exclude the AP. Id. at 21-25. And, despite the injunction having been in effect for

nearly two months with no demonstrable injury to the White House, the panel held

that the injunction irreparably harmed the government. Id. at 25-28.

      Judge Pillard dissented, observing that “[u]ntil now, every United States

president has had the fortitude to tolerate the presence in the White House and

Oval Office of credentialed journalists known to disagree with one or more

government-preferred viewpoints.” Id. at 34 (Pillard, J., dissenting). Indeed,

“[t]he First Amendment demands no less.” Id. Targeting the AP based on its

speech therefore violates the First Amendment’s prohibition on viewpoint

discrimination, including under forum analysis, and constitutes unconstitutional

retaliation. Id. at 34-51. Judge Pillard further demonstrated that the government

failed to show how allowing AP journalists into the press pool, where they have

been for decades, caused any cognizable harm—whereas the AP and the public are

irreparably harmed when AP journalists are barred. Id. at 51-55.




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                                    ARGUMENT

        The panel’s decision conflicts with binding precedent from this Court and the

Supreme Court on a question of exceptional national importance.              See FRAP

40(b)(2)(A), (B), (D). This Court should grant rehearing en banc and vacate the stay.

   I.      THE PANEL’S ORDER CONFLICTS WITH CONTROLLING
           FIRST AMENDMENT PRECEDENT

              A.    The Panel Erred by Ignoring Controlling Precedent that
                    Bars the Government from Targeting Disfavored Speech
        “[U]nder the First Amendment, if the Government opens its doors to some

journalists—be it to the Oval Office, the East Room, or elsewhere—it cannot then

shut those doors to other journalists because of their viewpoints.” Injunction Order

at 2; accord Order at 48 (Pillard, J., dissenting). In holding otherwise, the special

panel’s decision conflicts with binding precedent. See FRAP 40(b)(2)(A).

        The panel nods to the principle, reaffirmed last year by a unanimous

Supreme Court, that “[a]t the heart of the First Amendment’s Free Speech Clause

is the recognition that viewpoint discrimination is uniquely harmful to a free and

democratic society.” Order at 35 (quoting NRA of Am. v. Vullo, 602 U.S. 175, 187

(2024)). Yet the panel’s decision violates that basic rule. Id. at 30 (Pillard, J.,

dissenting) (explaining that the majority “contravene[s] the fundamental principle

that the government may not leverage its allocation of valuable support to punish

recipients for the viewpoints they express with their own time and resources”).




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      The First Amendment’s prohibition on viewpoint discrimination cuts across

doctrines, including both forum and retaliation jurisprudence. Id. Under either

doctrine, “Defendants have not made the showing critical to their stay application

that they are likely to succeed in establishing that the First Amendment allows

them to oust journalists from the White House Press Pool based on their employing

organization’s viewpoint.” Id. at 34.

             B.     The Panel Misapplied Forum Doctrine
      The panel’s assertion that “spaces to which the AP seeks access are not any

type of forum,” such that “the White House may consider journalists’ viewpoints

when deciding whether to grant access,” Order at 9, errs on the law and the facts.

The spaces from which the press pool reports, and the pool itself, are nonpublic

fora in which viewpoint-based access restrictions are unconstitutional.

      “In modern jurisprudence, forum analysis controls the extent to which the

government may restrict access to public property for First Amendment activities.”

Injunction Order at 17 (citing Price v. Garland, 45 F.4th 1059, 1067 (D.C. Cir.

2022)). But “[e]very type of forum . . . shares a baseline prohibition on viewpoint

discrimination.” Order at 39 (Pillard, J., dissenting).

      “The default category in forum analysis is the nonpublic forum, which

includes ‘all remaining public property’ that does not qualify as a traditional,

designated, or limited public forum.” Id. (quoting Int’l Soc’y for Krishna




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Consciousness v. Lee (ISKCON), 505 U.S. 672, 678-79 (1992)). The majority,

however, found the Oval Office and other spaces opened to the press pool are not

fora at all. Its determination rested on four erroneous findings.

       First, the majority erred in finding that “the press events to which the AP

seeks access do not involve the type of communicative activities that transform a

restricted government space into a nonpublic forum.” Order at 14-15. Citing

Price, the panel stated that “‘forum analysis applies only to communicative

activities,’” yet the pool engages in non-communicative “observational

newsgathering.” Id. at 15 (quoting Price, 45 F.4th at 1069-70). But this Court’s

decision in Price explicitly “disclaims the applicability of its holding to . . . ‘news-

gathering.’” Id. at 43 (Pillard, J., dissenting), the exact opposite of what the panel

held here. Characterizing the pool’s activities as non-communicative is also

erroneous because AP journalists report from the pool “in real time,” and the

President often “takes questions in the Oval Office.” Injunction Order at 24, 29.

“The government makes no clearly-erroneous challenge to that finding.” Order at

43 (Pillard, J., dissenting).

       Second, the panel erred in holding that even if the AP engages in “speech

and expressive activity” in the pool, “[t]hat speech . . . has little if any nexus to the

restricted spaces in which it occurs such that the spaces become nonpublic fora.”

Order at 15-16. To the contrary, “the White House itself has established, through




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decades of practice and formal policy, that one of the ‘intended purposes’ of the

spaces closest to him is to enable the press to cover the President.” Id. at 41

(Pillard, J., dissenting). AP journalists’ presence in those spaces is what allows

them to “look around the room and use all five senses to craft a unique message for

publication.” Injunction Order at 35.

      Precedent makes clear that the AP’s transmission of its journalism to editors

and readers outside the room is irrelevant. Cf. Order at 17-18; see Cornelius v.

NAACP Legal Def. & Educ. Fund, Inc., 473 U.S. 788, 799 (1985) (charity

fundraising drive was public forum “although [it] does not entail direct discourse

between the solicitor and the donor”); Price, 45 F.4th at 1071 n.*** (“Forum

analysis may well apply to live streaming, which is communicative activity, albeit

to people who are not necessarily located in the forum[.]”). Indeed, the panel’s

reasoning contradicts the holding in Ateba that the Brady Press Briefing Room is a

nonpublic forum, as the journalists there – like those in the pool – report news to

readers elsewhere. See Ateba v. Leavitt, 133 F.4th 114, 122-23 (D.C. Cir. 2025).

      Third, the panel erred in holding that “these spaces should not be classified

as nonpublic fora because access to them is tightly controlled and highly

selective.” Order at 18. “The limited size of the Press Pool” and Oval Office “do[]

not open the door to viewpoint-based selection.” Id. at 46 (Pillard, J., dissenting).

Although the majority relies on National Endowment for the Arts v. Finley, 524




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U.S. 569, 585-86 (1998), that case actually undermines its holding. Order at 18-

19. There, the Court upheld a selective government arts funding program because

it did not “raise[] concern about the suppression of disfavored viewpoints.” Finley,

524 U.S. at 587. Moreover, the panel calls the Oval Office “private,” Order at 10,

but the President uses it to conduct official business and continues to open it to the

press pool to cover his work. Stay Denial Order at 2.

      Nor does the existence of security protocols affect the outcome. On that

point the panel’s theory conflicts with this Court’s cases finding nonpublic fora in

the White House and U.S. Capitol, where entrants must pass through security. See

Ateba, 133 F.4th at 122 (White House Press Area); United States v. Nassif, 97

F.4th 968, 977-88 (D.C. Cir. 2024) (U.S. Capitol); see also Karem v. Trump, 960

F.3d 656, 662, 667-68 (D.C. Cir. 2020) (revocation of reporter’s hard pass

following Rose Garden event was impermissible). As Judge Pillard noted, “[t]he

entire White House is under tight security, but when spaces within are open to

White House-credentialed journalists, exclusions are impermissible if ‘based upon

the content of the journalist’s speech.’” Order at 42 (Pillard, J., dissenting)

(quoting Sherrill v. Knight, 569 F.2d 124, 129 (D.C. Cir. 1977)).

      Fourth, the panel erred in holding that “the fact that the President is

communicating at these events further distances this context from forum analysis.”

Order at 20. Even as it noted that “the White House disclaims primary” (indeed,




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any) “reliance on the government speech doctrine,” the panel found this doctrine

was “involve[d].” Id. Yet “the purpose of the Press Pool has never been to

propagandize for the President, but only to enable reliable news coverage of his

leadership.” Id. at 38 (Pillard, J., dissenting). The President has ample channels of

communication under his control. The AP is not one of them.

      At every turn, the panel’s forum analysis “violates the bedrock principle that

the government may not exclude private speakers from a government-created

forum, even a nonpublic forum, based on their viewpoint.” Id. at 39 (Pillard, J.,

dissenting). The en banc Court should review, and reverse, the panel’s decision.

      C.     The Panel Misapplied First Amendment Retaliation Law

      The panel’s decision also conflicts with binding precedent on retaliation.

Order at 21-25. Because the government has “curtail[ed] the AP’s access” based

on its “editorial decision to continue using ‘Gulf of Mexico’ in its Stylebook,”

causing material “adverse” impacts to its journalism and finances, the AP

“straightforward[ly]” satisfies the familiar retaliation test. Injunction Order at 33.

      The panel’s contrary holding violates the rule that “the First Amendment

prohibits even the denial of wholly discretionary support or benefits in retaliation

for a recipient’s exercise of speech rights outside the supported activity or

program.” Order at 48-49 (Pillard, J., dissenting). Whether the government is

awarding “federal funding, tax exemptions, trademarks, government contracts, [or]




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public sector employment,” it cannot condition those decisions on recipients’

views, even though the recipients have no freestanding “right” to government

support. Id. at 36, 49 (collecting cases).

      The same is true here. The panel found that the government’s retaliation

against the AP was “more akin to a decision about how the President wields the

bully pulpit” than to “a decision about a government benefit or license,” relying on

Baltimore Sun Co. v. Ehrlich, 437 F.3d 410 (4th Cir. 2006). Id. at 23-24. Yet

Ehrlich “is both inapposite and not binding on this court.” Order at 45 (Pillard, J.,

dissenting). There, Maryland’s Governor instructed officials not to speak with

Baltimore Sun reporters, but did not “restric[t] physical access to government

property for newsgathering.” Injunction Order at 26. Here, the AP is not asking

the Court to order the President to grant it an interview. “What the AP challenges

is its reporters’ and photographers’ exclusion from a government program for

which it is otherwise fully eligible and has long participated, based solely on the

AP’s own expression in its Stylebook and reporting.” Order at 45 (Pillard, J.,

dissenting); cf. John K. MacIver Inst. for Pub. Pol’y, Inc. v. Evers, 994 F.3d 602,

610-11 (7th Cir. 2021) (exclusion from governor’s press event could not be

viewpoint-based); see also Injunction Order at 28 (noting “the misfit between the

journalistic activities in Baltimore Sun and those here”). The First Amendment

does not allow such retaliation.




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      D.     The Panel Erred in Balancing the Equities and Public Interest

      The panel also erred in concluding that the equities favored the government

because the injunction “intru[des] on presidential prerogatives.” Order at 26. The

injunction does not require the President to open events to the press or speak to

reporters, or prevent him from restricting access based on security concerns, space

constraints, or any other viewpoint-neutral and reasonable basis. See Injunction

Order at 1. “All the AP wants, and all it gets, is a level playing field.” Id. at 40.

      Operating under the injunction, the White House crafted a new pool policy.

Pursuant to that policy, AP journalists have, inter alia, traveled on Air Force One

to cover the President’s attendance at Pope Francis’s funeral and a rally in

Pennsylvania, and reported from the Oval Office for his farewell to Elon Musk and

swearing-in of Ambassador Perdue, all without causing the President any harm.

Indeed, “[t]he notion that” the President “could be irreparably harmed by

attendance within the Press Pool of the carefully vetted, nondisruptive journalists

who work for the AP is extraordinary.” Order at 51 (Pillard, J., dissenting).

      The panel also undervalues the public interest and the irreparable harm to

the AP. It is axiomatic that “‘[t]he loss of First Amendment freedoms, for even

minimal periods of time,’ constitutes irreparable harm[.]” Id. at 52 (Pillard, J.,

dissenting) (quoting Nat’l Treasury Emps. Union v. United States, 927 F.2d 1253,

1254 (D.C. Cir. 1991) (Thomas, J.)). The panel finds that the AP can still report




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from the Briefing Room, and discounts its financial harm. Id. at 26. Yet as the

District Court found, the access ban “severely hampered” the AP’s “First

Amendment right to gather and quickly disseminate news about the President,” and

“cut deeply into the AP’s business, both financially and in terms of lost

opportunities.” Injunction Order at 37-38. The government offers no challenge to

that conclusion, which was based on largely undisputed witness testimony.

      The public suffers these harms too. “[T]here is always a strong public

interest in the exercise of free speech rights otherwise abridged by an

unconstitutional regulation[.]” Pursuing Am.’s Greatness v. FEC, 831 F.3d 500,

511 (D.C. Cir. 2016). The AP’s pool coverage informs the public about the

activities of the President, which is essential to our democracy. See N.Y. Times Co.

v. Sullivan, 376 U.S. 254, 270 (1964) (recognizing the “profound national

commitment to the principle that debate on public issues should be uninhibited,

robust, and wide-open”). Suspending the injunctive relief that has been in effect

for two months would irreparably harm not only the AP, but also the billions of

people its journalism reaches. See Chaplaincy of Full Gospel Churches v.

England, 454 F.3d 290, 297 (D.C. Cir. 2006) (“[T]he basis of injunctive relief in

the federal courts has always been irreparable harm.”).

      On all factors of the stay analysis, the panel’s decision as to the pool

misapplied binding precedent and should be reviewed by the full Court.




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II.    THE PANEL’S ORDER RAISES EXCEPTIONALLY IMPORTANT
       QUESTIONS
       The panel’s order permits the government to resume discriminating against

the AP based on its speech, to the detriment of the First Amendment, the AP’s

journalism, and audiences worldwide, raising questions “of exceptional

importance.” See FRAP 40(b)(2)(D). In attempting to coerce the AP – and by

extension other press – into using the government’s preferred language, the

government struck at the core of the First Amendment. The panel’s order threatens

to do the same.

III.   THE PANEL’S ORDER ERRS BY DISRUPTING THE STATUS QUO
       The urgent need for review is heightened because the panel reached its

erroneous decision on an emergency motion, in which the government sought the

“extraordinary remedy” of a “stay pending appeal,” requiring “a strong showing

that it is likely to succeed.” KalshiEX LLC v. CFTC, 119 F.4th 58, 63 (D.C. Cir.

2024) (cleaned up). “A stay pending appeal . . . is meant to be a ‘stopgap

measure[,]’ . . . not an opportunity to effect a sea change in the law[.]” Harris v.

Bessent, 2025 WL 980278, at *35 (D.C. Cir. Mar. 28, 2025) (Millet, J., dissenting)

(quoting Singh v. Berger, 56 F.4th 88, 95 (D.C. Cir. 2022)), vacated on

reconsideration en banc, 2025 WL 1021435 (Apr. 7, 2025).

       Moreover, “courts are institutionally wary of granting relief that disrupts,

rather than preserves, the status quo.” Singh, 56 F.4th at 95. The status quo is “the



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last uncontested status which preceded the pending controversy.” Huisha-Huisha

v. Mayorkas, 27 F.4th 718, 733-34 (D.C. Cir. 2022). Here, the status quo, for

decades before this controversy, was the AP participating in the press pool. The

Court should not allow the panel to disrupt that status quo.

      As it has in other cases involving executive overreach, see, e.g.,

Widakuswara v. Lake, 2025 WL 1521355, at *1 (D.C. Cir. May 28, 2025), the

Court should grant en banc review.

                                  CONCLUSION
      For the foregoing reasons, the AP respectfully requests that the Court grant

en banc review.

 Dated: June 10, 2025                   Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 40(d), the undersigned

counsel certifies that this document complies with the typeface requirements of

Rule 32(a)(5) and the type-style requirements of Rule 32(a)(6) because this

Petition was composed using Microsoft Word in 14-point Times New Roman font,

a proportionally spaced font. The word count is 3,885 words.

      June 10, 2025                        /s/ Charles D. Tobin
                                           Charles D. Tobin
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                         CERTIFICATE OF SERVICE
      I hereby certify that, on this 10th day of June, 2025, a true and correct copy

of the foregoing was served on counsel for all parties via the Court’s ECF system.

                                             /s/ Charles D. Tobin
                                             Charles D. Tobin
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            ADDENDUM A
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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 25-5109                                                 September Term, 2024
                                                                        1:25-cv-00532-TNM
                                                        Filed On: June 6, 2025
Associated Press,

              Appellee

       v.

Taylor Budowich, in his official capacity as
White House Deputy Chief of Staff, et al.,

              Appellants


       BEFORE:       Pillard*, Katsas, and Rao, Circuit Judges

                                         ORDER

      Upon consideration of the emergency motion for a stay pending appeal and an
immediate administrative stay, the opposition thereto and notice of errata, and the reply,
it is

        ORDERED that the motion for a stay pending appeal be granted in part. The
district court’s preliminary injunction entered on April 8, 2025, is stayed pending further
order of this court except to the extent that the preliminary injunction is applicable to the
East Room. A concurring statement of Judge Rao, joined by Judge Katsas, and a
dissenting statement of Judge Pillard are attached.

                                        Per Curiam

                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                  BY:     /s/
                                                          Selena R. Gancasz
                                                          Deputy Clerk


* Judge Pillard would deny the motion for a stay pending appeal.
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                 RAO, Circuit Judge, joined by KATSAS, Circuit Judge: The
            Associated Press wants to be in the room where it happens. But
            in February 2025, White House officials excluded the AP from
            the Oval Office and other restricted spaces. Officials
            announced that access was denied because the AP continued to
            use the name Gulf of Mexico in its Stylebook, rather than the
            President’s preferred Gulf of America. The AP sued, alleging
            that its exclusion violated the First Amendment. The district
            court held the AP was likely to succeed on its constitutional
            claims, and it issued a preliminary injunction prohibiting White
            House officials from denying, on the basis of viewpoint, access
            to press events held in the Oval Office, on Air Force One, and
            at the President’s home in Mar-a-Lago.1

                 We grant in part the government’s motion for a stay
            pending appeal. The White House is likely to succeed on the
            merits because these restricted presidential spaces are not First
            Amendment fora opened for private speech and discussion.
            The White House therefore retains discretion to determine,
            including on the basis of viewpoint, which journalists will be
            admitted. Moreover, without a stay, the government will suffer
            irreparable harm because the injunction impinges on the
            President’s independence and control over his private
            workspaces.

                                             I.

                                            A.

                Reporters and photographers have long been permitted
            access to the White House complex to cover the President and
            his administration. The White House manages access by

            1
              We use “Oval Office” to refer collectively to the Oval Office, Air
            Force One, Mar-a-Lago, and similar restricted presidential
            workspaces. We separately consider access to the East Room, a much
            larger space that can accommodate more members of the press.
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                                            2
            requiring journalists to obtain a press credential called a hard
            pass. More than one thousand journalists hold hard passes,
            through which they may access spaces such as the James S.
            Brady Briefing Room, where the White House Press Secretary
            delivers regular briefings. Hard pass holders may also sign up
            via a reservation system to attend larger events hosted in the
            East Room, which is often used for meetings with foreign
            leaders, executive order signings, and press conferences.
            Because the White House has opened these press facilities “to
            all bona fide Washington-based journalists,” hard passes may
            not be denied arbitrarily or based on the content of a journalist’s
            speech. Sherrill v. Knight, 569 F.2d 124, 129–30 (D.C. Cir.
            1977).

                 A small subset (around one percent) of hard pass holders
            is sometimes invited into even more restricted White House
            spaces, such as the Oval Office and the Cabinet Room. This
            group of privileged journalists, referred to as the “press pool,”
            has historically been selected by the White House
            Correspondents’ Association, a private organization of which
            the AP is a founding member. Since its inception, the press
            pool has had a relatively stable, although not fixed,
            membership. Journalists selected to be part of the press pool
            may travel with the President aboard Air Force One and attend
            small press events at the President’s home in Mar-a-Lago,
            usually to observe presidential speeches and events. For many
            years, the Correspondents’ Association offered the AP a
            standing invitation to send one reporter and one photographer
            to press pool events.

                 On February 11, 2025, White House Press Secretary
            Karoline Leavitt informed the AP that it would not be permitted
            in the Oval Office or press pool unless it revised its Stylebook
            to refer to the Gulf of America, which President Trump had
            recently renamed from the Gulf of Mexico. The President and
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                                           3
            other senior White House officials publicly stated that the
            reason for the AP’s exclusion was its continued use of the name
            Gulf of Mexico. The AP was similarly excluded from events in
            the East Room, despite signing up in advance through the
            reservation process. On February 25, the White House
            announced it would select journalists for participation in press
            pool events, instead of deferring to the selection made by the
            Correspondents’ Association.

                                           B.

                 The AP brought suit, alleging that the White House
            violated the First Amendment by engaging in viewpoint
            discrimination and by retaliating against the AP for its
            protected expression. It sought declaratory relief and a
            preliminary injunction directing the White House to rescind its
            new policies targeting the AP.

                 The district court held that the AP was likely to succeed on
            the merits of both First Amendment claims. As to viewpoint
            discrimination, the court determined that the Oval Office and
            other similar spaces are nonpublic fora and so the White House
            may not restrict reporters’ access based on viewpoint. The
            President and other White House officials candidly stated that
            the AP’s exclusion turned on its viewpoint, namely its
            continued use of the name Gulf of Mexico in its Stylebook. The
            district court concluded that such viewpoint discrimination in
            a nonpublic forum violates the First Amendment. The district
            court also held that the White House engaged in unlawful
            retaliation by excluding the AP from press pool events because
            of its editorial decision to use Gulf of Mexico. As to the other
            preliminary injunction factors, the court held the AP’s loss of
            First Amendment freedoms and reporting opportunities
            constitutes irreparable harm, and enforcement of an
            unconstitutional policy is contrary to the public interest.
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                                             4
                 The district court granted the AP’s motion for a
            preliminary injunction and required the White House to
            “rescind the denial of the AP’s access to the Oval Office, Air
            Force One, and other limited spaces based on the AP’s
            viewpoint when such spaces are made open to other members
            of the White House press pool,” and to “rescind [its] viewpoint-
            based denial of the AP’s access to events open to all
            credentialed White House journalists.” Tailoring the injunction
            to the likely constitutional harm, the court recognized that the
            White House retained discretion to exclude the AP for
            “permissible reasons,” to deny all journalists access to the
            President in restricted spaces, and to select particular
            journalists for interviews.2

                 The White House moved for emergency relief in this court.
            It seeks a stay of the district court’s injunction pending appeal.

                                             II.

                As a threshold matter, we reject the White House’s
            contention that this case implicates the political question
            doctrine. The political question doctrine represents “a narrow
            exception” to the general rule that “the Judiciary has a
            responsibility to decide cases properly before it, even those it
            would gladly avoid.” Zivotofsky ex rel. Zivotofsky v. Clinton,

            2
              On April 14, 2025, while the injunction was in effect, the AP was
            denied access to the Oval Office. The next day, the White House
            issued an updated policy abolishing the wire services seat from the
            press pool. The AP immediately filed a motion arguing the White
            House violated the terms of the injunction and requesting
            enforcement. The district court denied that motion because it agreed
            the White House’s new policy was facially neutral. Moreover, the
            court credited the White House’s declaration that it had not excluded
            the AP from press events based on viewpoint while the district
            court’s injunction was in place.
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                                           5
            566 U.S. 189, 194–95 (2012) (cleaned up). A case may present
            a nonjusticiable political question if one of six factors
            identified by the Supreme Court is present. See Baker v. Carr,
            369 U.S. 186, 217 (1962) (setting out the modern framework
            for the political question doctrine); El-Shifa Pharm. Indus. Co.
            v. United States, 607 F.3d 836, 841 (D.C. Cir. 2010)
            (explaining the six factors from Baker are disjunctive). As
            relevant here, the White House maintains the political question
            doctrine bars judicial review because there are no “judicially
            discoverable and manageable standards” governing the
            selection of journalists for small group press events with the
            President and because any resolution of the AP’s claims would
            necessarily express a lack of respect for a coordinate branch of
            government. Baker, 369 U.S. at 217. We disagree.

                 The AP’s constitutional challenge lies well within the
            judicial province. The AP alleges its First Amendment rights
            have been violated because the White House engaged in
            viewpoint discrimination and retaliation on account of the AP’s
            speech. The freedoms of speech and press are vital to our
            constitutional democracy. See Stromberg v. California, 283
            U.S. 359, 369 (1931) (“The maintenance of the opportunity for
            free political discussion to the end that government may be
            responsive to the will of the people ... is a fundamental
            principle of our constitutional system.”). The prohibition on
            viewpoint discrimination, when it applies, protects speakers
            against invidious government action. See, e.g., Rosenberger v.
            Rector and Visitors of University of Virginia, 515 U.S. 819, 829
            (1995) (“When the government targets not subject matter, but
            particular views taken by speakers on a subject, the violation
            of the First Amendment is all the more blatant.”). “[A]bove all
            else, the First Amendment means that government has no
            power to restrict expression because of its message, its ideas,
            its subject matter, or its content.” Police Dep’t of Chicago v.
            Mosley, 408 U.S. 92, 95 (1972). The courts regularly adjudicate
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                                            6
            claims that the government has violated the First Amendment’s
            prohibition on viewpoint discrimination.

                 The AP’s arguments that it has suffered viewpoint
            discrimination and retaliation in violation of the First
            Amendment “sound in familiar principles of constitutional
            interpretation” and do “not turn on standards that defy judicial
            application.” Zivotofsky, 566 U.S. at 201 (cleaned up). While
            the constitutional questions presented arise in a political
            context, they do not fall within the narrow category of political
            questions that lie beyond the sphere of the federal courts.
            Adjudicating the constitutional limits on Executive Branch
            action does not, on its own, show disrespect to a coordinate
            branch. See El-Shifa, 607 F.3d at 841–42. Due regard for the
            Executive Branch as an independent and co-equal department
            must be part of our analysis of the AP’s First Amendment
            challenge, but it does not bar judicial review at the outset.

                                           III.

                 It is within our traditional equitable authority to “stay the
            enforcement of a judgment pending the outcome of an appeal.”
            Scripps-Howard Radio, Inc. v. FCC, 316 U.S. 4, 9–10 & n.4
            (1942) (citing All Writs Act, now codified at 28 U.S.C.
            § 1651). In deciding whether to grant a stay pending appeal, we
            consider four factors: “(1) whether the stay applicant has made
            a strong showing that he is likely to succeed on the merits;
            (2) whether the applicant will be irreparably injured absent a
            stay; (3) whether issuance of the stay will substantially injure
            the other parties interested in the proceeding; and (4) where the
            public interest lies.” Nken v. Holder, 556 U.S. 418, 434 (2009)
            (cleaned up). While these factors guide our assessment, a stay
            is an exercise of equitable discretion, and therefore “[t]he
            propriety of its issue … depend[s] upon the circumstances of
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                                            7
            the particular case.” Virginian Ry. Co. v. United States, 272
            U.S. 658, 672–73 (1926).

                 The White House seeks a stay of the preliminary
            injunction. A preliminary injunction is “an extraordinary
            remedy” that “may only be awarded upon a clear showing that
            the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def.
            Council, Inc., 555 U.S. 7, 22 (2008). Unlike a final judgment,
            “a preliminary injunction is remarkable because it imposes a
            constraint on the enjoined party’s actions” before a full
            adjudication of the merits. Hanson v. District of Columbia, 120
            F.4th 223, 243 (D.C. Cir. 2024) (cleaned up). “[T]o grant a
            preliminary injunction is normally to make a choice under
            conditions of grave uncertainty.” Singh v. Berger, 56 F.4th 88,
            95 (D.C. Cir. 2022) (cleaned up). Our evaluation of the stay
            factors is invariably shaped by the interim nature of the district
            court’s relief. “In assessing the lower courts’ exercise of
            equitable discretion, we bring to bear an equitable judgment of
            our own.” Trump v. Int’l Refugee Assistance Project, 137 S. Ct.
            2080, 2087 (2017).

                                           IV.

                 Because we are considering a stay pending appeal of a
            preliminary injunction, the government can demonstrate
            likelihood of success on the merits by showing that the district
            court misapplied the Winter factors—the first of which is
            whether the plaintiff has shown likelihood of success on the
            merits. See NTEU v. Trump, No. 25-5157, 2025 WL 1441563,
            at *1 & n.1 (D.C. Cir. May 16, 2025). Here, the AP is not likely
            to succeed on its viewpoint discrimination and retaliation
            claims, which weighs heavily in favor of granting the stay
            pending appeal.
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                                            8
                                           A.

                 The district court held the Oval Office, Air Force One, and
            similar restricted spaces are nonpublic fora when members of
            the press pool are present, and therefore the AP’s exclusion on
            the basis of viewpoint violates the First Amendment. We
            conclude the spaces to which the AP seeks access are not any
            type of forum. As such, the White House may consider
            journalists’ viewpoints when deciding whether to grant access.

                                           1.

                 To determine the extent of any First Amendment
            protection, we must first identify the relevant government
            space or spaces to which the AP claims access. “The existence
            of a right of access to public property and the standard by which
            limitations upon such a right must be evaluated differ
            depending on the character of the property at issue.” Perry
            Educ. Ass’n v. Perry Loc. Educators’ Ass’n, 460 U.S. 37, 44
            (1983). Forum analysis guides our assessment of whether and
            to what extent the government may restrict speech on its
            property. Cornelius v. NAACP Legal Def. & Educ. Fund, Inc.,
            473 U.S. 788, 799–800 (1985). But we are mindful that courts
            should not “extend[] the public forum doctrine in a mechanical
            way to contexts that meaningfully differ from those in which
            the doctrine has traditionally been applied.” Price v. Garland,
            45 F.4th 1059, 1068 (D.C. Cir. 2022) (cleaned up).

                 The AP argues that it suffers harm through its viewpoint-
            based exclusion from press pool events. The district court
            identified the press pool as the relevant forum because the AP
            has “not been admitted in any form or fashion to the press pool
            since February 14” and therefore “seeks restored eligibility
            for … press pool events.” Focusing on the press pool, however,
            distracts from the actual fora relevant to our analysis. The press
            pool is an historically privileged group of reporters that is at
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                                                9
             times given access to spaces like the Oval Office. Reporters
             and photographers within the pool gather news and speak to the
             public about what they have seen and heard, but the pool is a
             not an “instrumentality used for communication” by the AP or
             other journalists. Cornelius, 473 U.S. at 803. The press pool is
             simply a mechanism for granting a select group of reporters
             access to the most private spaces in the White House.3

                  Although the AP emphasizes its storied place in the history
             of the press pool, the pool is relevant only because it is often
             granted access to spaces in which the President conducts
             business. See id. at 801 (“[I]n defining the forum we have
             focused on the access sought by the speaker.”). If the press pool
             were not allowed in the Oval Office, membership in the pool
             would be irrelevant to the access that the AP seeks.

                  The proper context for our First Amendment analysis is
             therefore the restricted spaces to which the AP seeks access,
             namely the Oval Office, Air Force One, Mar-a-Lago, and the
             East Room, when they are opened to a small group of
             journalists to observe presidential events.

                                                2.

                   Courts apply forum analysis to determine the character of
             government property and the extent to which it is open to
             private speech. Government property may be one of “three
             types of fora: the traditional public forum, the public forum
             created by government designation, and the nonpublic forum.”
             Id. at 802. Some government properties, however, are “not fora
             at all.” Arkansas Educ. Television Comm’n v. Forbes, 523 U.S.

             3
              The press pool is not, and has never been, a government benefit. Cf.
             Pillard, J., dissenting, at 9, 21. Until recently, membership in the pool
             was determined by a private organization, the Correspondents’
             Association.
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                                               10
             666, 677 (1998); Walker v. Texas Div., Sons of Confederate
             Veterans, Inc., 576 U.S. 200, 216 (2015). The degree of First
             Amendment protection turns on both the characterization of the
             property and the type of activity occurring there.4 “[F]orum
             analysis applies only to communicative activities, not to
             activities that, even if generally protected by the First
             Amendment, are not communicative.” Price, 45 F.4th at 1070.

                  No one suggests the Oval Office is a traditional public
             forum such as a park or sidewalk held in trust for expressive
             activity. Nor is the Oval Office a designated public forum that
             the government has made generally available to the public for
             discourse and communication. The disagreement between the
             parties is whether the spaces at issue are nonpublic fora or not
             fora at all, and so we focus on this distinction.

                  “A nonpublic forum is government property that is not by
             tradition or designation a forum for public communication.” Id.
             at 1068 (cleaned up). The government, “no less than a private
             owner of property, has power to preserve the property under its
             control for the use to which it is lawfully dedicated.” Greer v.
             Spock, 424 U.S. 828, 836 (1976) (cleaned up). Government
             property does not become a nonpublic forum unless and until
             the government takes some affirmative step to open the space
             for private communication. While the government need not
             open up property “that is not by tradition or designation a
             forum for public communication,” the government “creates a

             4
               While viewpoint discrimination is often unconstitutional, we reject
             the dissent’s primary argument that the White House’s viewpoint-
             based exclusion of the AP is per se unconstitutional. See Pillard, J.,
             dissenting, at 6–9. This blanket conclusion finds no support in our
             First Amendment jurisprudence, which carefully assesses the type of
             government property at issue and recognizes that some government
             spaces are not fora at all and therefore are not subject to prohibitions
             on viewpoint discrimination.
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                                               11
             nonpublic forum when it provides selective access for
             individual speakers.” Ateba v. Leavitt, 133 F.4th 114, 121–22
             (D.C. Cir. 2025) (cleaned up). Until the government opens a
             restricted space to private speech between private parties, such
             a space is not a First Amendment forum at all.

                  Our cases provide guideposts for applying forum analysis
             to spaces in the White House. When the White House opens its
             facilities to the press generally, as it does in the Brady Briefing
             Room, it cannot exclude journalists based on viewpoint. In
             Sherrill, we held that the “White House press facilities having
             been made publicly available as a source of information for
             newsmen, the protection afforded newsgathering under the
             [F]irst [A]mendment guarantee of freedom of the press”
             attached, requiring that “access not be denied arbitrarily or for
             less than compelling reasons.” 569 F.2d at 129 (cleaned up).
             We recently explained that “[a]lthough Sherrill predated
             modern forum analysis, its description of the Press Area fits the
             definition of a nonpublic First Amendment forum.” Ateba, 133
             F.4th at 122–23. Thus, “access to the White House Press Area
             can be restricted as long as the restrictions are viewpoint
             neutral and reasonable.” Id. at 123 (cleaned up). Sherrill and
             Ateba stand for the proposition that White House spaces
             generally open to the press are nonpublic fora, and therefore
             access cannot be restricted based on viewpoint.5

                 On the other hand, we have never suggested that there are
             any First Amendment restrictions on “the discretion of the
             President to grant interviews or briefings with selected

             5
              The White House has substantial discretion to control press access
             based on considerations such as security or space limitations, and this
             court has declined to micromanage or intrude on the White House’s
             discretion to set such policies. See Sherrill, 569 F.2d at 130; Ateba,
             133 F.4th at 122–23.
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                                             12
             journalists.” Sherrill, 569 F.2d at 129. In deciding which
             journalists to speak with, the President may of course take into
             account their viewpoint. If President Trump sits down for an
             interview with Laura Ingraham, he is not required to do the
             same with Rachel Maddow. The First Amendment does not
             control the President’s discretion in choosing with whom to
             speak or to whom to provide personal access. It is a time
             honored and entirely mundane aspect of our competitive and
             free press that public officials “regularly subject all reporters to
             some form of differential treatment based on whether they
             approve of the reporters’ expression.” The Baltimore Sun Co.
             v. Ehrlich, 437 F.3d 410, 418 (4th Cir. 2006).

                  These uncontested principles provide the framework for
             assessing the AP’s claim that the Oval Office and other
             restricted spaces become nonpublic fora when the White House
             selects a small group of journalists (such as the press pool) to
             be present for observational newsgathering and reporting.

                                             3.

                  To properly characterize the Oval Office and like spaces,
             we examine their history and the government’s “policy and
             practice” with respect to allowing access. Cornelius, 473 U.S.
             at 802. We also consider whether “the tradition of … activity”
             in these spaces demonstrates that they “have historically been
             made available for speech activity.” Int’l Soc’y for Krishna
             Consciousness, Inc. v. Lee, 505 U.S. 672, 680 (1992); see also
             Perry, 460 U.S. at 45 (evaluating whether the space has “by
             long tradition … been devoted to assembly and debate”). The
             design and function of the space is also relevant when
             determining whether the government has created any type of
             forum for private speech. United States v. Kokinda, 497 U.S.
             720, 727–30 (1990) (plurality opinion).
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                 The Oval Office is the President’s office, over which he
             has absolute control and discretion to exclude the public or
             members of the press. As the district court explained, the Oval
             Office “is a highly controlled location … shrouded behind a
             labyrinth of security protocols,” which “few members of the
             public will ever” enter. The President uses the space for myriad
             purposes, including speeches, signing ceremonies, and
             meetings with senior officials or heads of state. When events in
             the Oval Office are broadcast to the public, they feature the
             President’s speech and expressive activity.

                  It hardly needs to be said that the Oval Office, Air Force
             One, or even the East Room are not places “traditionally open
             to assembly and debate,” nor are they open to the public for
             expressive activity. Cornelius, 473 U.S. at 802. The parties
             agree the White House could, consistent with the First
             Amendment, exclude press from these spaces entirely. Cf.
             Zemel v. Rusk, 381 U.S. 1, 17 (1965) (explaining there is no
             First Amendment right to enter the White House); Pell v.
             Procunier, 417 U.S. 817, 833 (1974) (“It has generally been
             held that the First Amendment does not guarantee the press a
             constitutional right of special access to information not
             available to the public generally.”) (cleaned up); Houchins v.
             KQED, Inc., 438 U.S. 1, 9, 12 (1978) (holding the press has no
             First Amendment “right of access to all sources of information
             within government control”).

                 The AP’s primary contention, however, is that when the
             Oval Office and similar spaces are opened to the press pool,
             they become nonpublic fora and therefore the White House
             may not withhold access on the basis of viewpoint. We
             disagree.

                 First, the press events to which the AP seeks access do not
             involve the type of communicative activities that transform a
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             restricted government space into a nonpublic forum. “[F]orum
             analysis applies only to communicative activities.” Price, 45
             F.4th at 1070. In each of the Supreme Court’s forum analysis
             cases, the activity triggering application of the doctrine
             involved “assembly, the exchange of ideas to and among
             citizens, the discussion of public issues, the dissemination of
             information and opinion, and debate—all of which are
             communicative activities.” Id. at 1069 (canvassing cases).
             Where, as here, a small group of journalists is permitted to
             attend events in restricted White House spaces like the Oval
             Office, the primary activity is observational newsgathering.
             The district court found that at so-called press pool events,
             “journalists are relegated to watching events unfold” and very
             often “have no interaction with the President or other officials.”
             At these events, journalists do not expect to “have a substantive
             conversation with officials.” Instead, journalists are present
             “just to witness what is said and what the reaction is, and what
             else is happening in the room.” The AP admits as much and
             identifies the harms from exclusion as the loss of opportunities
             to “gather and quickly disseminate news about the President.”
             Newsgathering may enjoy some First Amendment protections
             from government interference. See Branzburg v. Hayes, 408
             U.S. 665, 707 (1972). But newsgathering is not itself a
             communicative activity. When journalists are invited to
             observe events in the Oval Office, they are gathering
             information for their reporting, which is “a noncommunicative
             step in the production of speech.” Price, 45 F.4th at 1068.

                  Second, the communicative acts identified by the district
             court cannot transform these restricted White House spaces
             into nonpublic fora. The AP stressed that the “quick[]
             disseminat[ion]” of presidential news is essential to its business
             model as a global wire service. And the district court concluded
             that journalists are in fact “speaking” from these limited-access
             spaces because they transmit stories, observations, and
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             photographs in real time.6 Without question, such reporting
             constitutes speech and expressive activity. That speech,
             however, has little if any nexus to the restricted spaces in which
             it occurs such that the spaces become nonpublic fora.

                  In every case in which the Court has concluded a
             government property constitutes a traditional public forum,
             designated forum, or even nonpublic forum, there exists a close
             relationship between the forum and the protected speech. Since
             Roman times, a forum has been emblematic of a space for
             citizens to participate in public discussion and dialogue, to
             exchange ideas, and to engage in political debate. In modern
             doctrine, the “traditional public forum” is closely tethered to
             this historical conception: It is a place which, “time out of
             mind, [has] been used for purposes of assembly,
             communicating thoughts between citizens, and discussing
             public questions.” Perry, 460 U.S. at 45 (cleaned up). See also
             Cornelius, 473 U.S. at 800 (“[A] principal purpose of
             traditional public fora is the free exchange of ideas.”). In a
             similar way, a designated public forum is a space the
             government opens “for use by the public as a place for
             expressive activity.” Perry, 460 U.S. at 45 (emphasis added).

             6
               The district court relied heavily on a Seventh Circuit decision,
             which concluded that an “invitation-only, limited-access press
             event” hosted by the governor of Wisconsin was a nonpublic forum.
             See John K. MacIver Inst. for Public Policy, Inc. v. Evers, 994 F.3d
             602, 610 & n.1 (7th Cir. 2021). In that case, however, while the
             Governor argued that his press events were likely not a forum at all,
             he acknowledged that nonpublic forum analysis “might apply” under
             the circumstances. Id. at 610 n.1. Without explanation, the Seventh
             Circuit held “the non-public forum analysis is the appropriate one”
             and concluded that the Governor’s access policies were
             constitutional even under this more demanding standard. The case is
             therefore of limited relevance to the inquiry here, where the parties
             dispute whether these spaces are fora at all.
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             So, for example, a university created a designated public forum
             when it made its facilities available for student groups and
             speakers to use for meetings, discussions, and other
             communicative purposes. Widmar v. Vincent, 454 U.S. 263,
             267–73 (1981). In all of these cases, there is a clear nexus
             between the forum and the protected speech.

                  Even with respect to less conventional nonpublic fora, the
             Supreme Court has carefully considered the connection
             between the speech and the forum. In Cornelius, the plaintiffs
             wanted to solicit donations (a form of protected speech)
             through a charity drive brochure targeted at federal employees.
             473 U.S. at 797–801. The Court concluded that the charity
             drive with its government-distributed materials was a
             nonpublic forum because “the nexus between solicitation and
             the communication of information and advocacy of causes is
             present in the [charity drive brochure] as in other contexts.” Id.
             at 799 (emphasis added). The plaintiffs sought “access to a
             particular means of communication,” namely, speaking to
             government workers within the nonpublic forum of the charity
             drive brochure. Id. at 801.

                  These cases illustrate why AP’s communicative activities
             here have no nexus to the Oval Office. When a small number
             of press observe presidential events, they are not using the Oval
             Office as the location or means of communication. And when
             the White House opens events in the Oval Office to a select
             group of journalists for observational newsgathering, the
             journalists generally are not speaking with the President or
             other officials, nor are they engaged in dialogue with each
             other. The AP’s reporting on presidential events through
             electronic dissemination of news to editors or the public
             outside the White House is the only communicative activity at
             issue. But this activity could occur anywhere and therefore
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             lacks the essential connection to the government space required
             to create even a nonpublic forum.

                  We decline to adopt a rule that would turn any government
             space in which smart phones or computers are allowed into a
             nonpublic forum simply because individuals can communicate
             with the outside world by blogging, posting comments and
             pictures, or other otherwise disseminating messages in real
             time. Smart phone ownership is ubiquitous. The mere
             possibility of communicating through the internet while on
             government property cannot transform every government
             space into a forum protected by the First Amendment.7 Indeed,
             we are not aware of any forum analysis case in which the
             relevant expressive or communicative activity was directed
             outside the forum. When the courts determine that government
             property serves as a forum, the property is the essential situs
             for the communicative activity.

                  Third, these spaces should not be classified as nonpublic
             fora because access to them is tightly controlled and highly
             selective. Only about one percent of hard pass holders can fit
             in spaces like the Oval Office. When access to government
             property is very limited, considerations of viewpoint may be
             permissible. Cf. Nat’l Endowment for the Arts v. Finley, 524

             7
               In Price, we said in dicta that livestreaming may be a kind of
             communicative activity, “albeit to people who are not necessarily
             located in the forum in which the streaming is conducted.” 45 F.4th
             at 1071 n.***. Livestreaming was not at issue in that case, but instead
             used as an example to distinguish communicative activity from
             noncommunicative steps in the creation of speech. Moreover,
             although we stated in Price that the government could not restrict
             filmmaking in national parks on the basis of viewpoint, see id. at
             1071–72, the government generally had opened the parks to the
             public for commercial uses, see id. at 1064–65. This aspect of Price
             has no relevance to highly restricted spaces such as the Oval Office.
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             U.S. 569, 585–86 (1998) (upholding discretionary funding
             scheme against First Amendment challenge and explaining that
             with such a competitive grant program “absolute neutrality is
             simply inconceivable”) (cleaned up).

                  At oral argument, the AP agreed that the President or
             White House could select a group of journalists each day to
             observe events in these spaces and that such selection would
             not be subject to forum analysis. The AP further conceded that
             the President could abolish the existing press pool or establish
             a new pool based on different criteria, including viewpoint.8
             And the AP agrees the White House or President can
             discriminate on the basis of viewpoint in granting exclusive
             interviews, answering journalists’ questions, or selecting
             journalists to attend an event about a particular subject matter.

                 The AP’s concessions give away the game, because such
             scenarios cannot be distinguished from so-called press pool
             events, which are at bottom small press availabilities with the
             President. Allowing a handful of selected journalists into the
             President’s personal office cannot transform it into the Brady

             8
               Both the AP and the district court at various points suggest that if
             the White House maintains something like the press pool, it must
             allow access on a viewpoint neutral basis. For the reasons already
             explained, a group of journalists observing presidential events is not
             a forum of any sort. Accordingly, the White House should not have
             to choose between excluding all journalists and admitting journalists
             under the restrictions of a nonpublic forum. By recognizing the
             distinctions between different fora “we encourage the government to
             open its property to some expressive activity in cases where, if faced
             with an all-or-nothing choice, it might not open the property at all.”
             Forbes, 523 U.S. at 680; see also Pleasant Grove City, Utah v.
             Summum, 555 U.S. 460, 480 (2009) (“[W]here the application of
             forum analysis would lead almost inexorably to closing of the forum,
             it is obvious that forum analysis is out of place.”).
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             Briefing Room. The AP therefore must place great weight on
             the historical press pool as the forum to which it seeks access.
             But as we have already explained, the only potential fora here
             are the restricted physical spaces, like the Oval Office, to which
             AP seeks access, not the historical press pool.

                 Finally, the fact that the President is communicating at
             these events further distances this context from forum analysis.
             When the government is speaking, forum analysis is usually
             inapplicable because while the First Amendment “restricts
             government regulation of private speech[,] it does not regulate
             government speech.” Pleasant Grove City, Utah v. Summum,
             555 U.S. 460, 467 (2009); see also Walker, 576 U.S. at 215
             (“Because the State is speaking on its own behalf, the First
             Amendment strictures that attend the various types of
             government-established forums do not apply.”).

                 Although the White House disclaims primary reliance on
             the government speech doctrine, the events to which the AP
             seeks access by their nature involve presidential, i.e.
             government, speech. The messages conveyed in the Oval
             Office are government speech and opportunities for the
             President’s administration to express its message. “When
             government speech is involved, forum analysis does not apply
             and the Government may favor or espouse a particular
             viewpoint.” Bryant v. Gates, 532 F.3d 888, 898–99 (D.C. Cir.
             2008) (Kavanaugh, J., concurring). Forum analysis is also
             inappropriate when government speech occurs within a limited
             space, such as the Oval Office, the “essential function” of
             which would be defeated by compelling the President to
             support private speech on a viewpoint-neutral basis. Summum,
             555 U.S. at 478.
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                                           ***

                  In sum, forum analysis is the wrong framework for
             analyzing the First Amendment protections for journalists
             observing presidential events in the Oval Office. Opening
             restricted White House and presidential spaces to small groups
             of journalists does not transform these spaces into nonpublic
             fora to which access must be granted on a viewpoint neutral
             basis. The AP’s claim to access is inconsistent with
             longstanding First Amendment principles and would “plant the
             seed of a constitutional case” in every decision the White
             House makes about which reporters to include at presidential
             events. Connick v. Myers, 461 U.S. 138, 149 (1983); Baltimore
             Sun, 437 F.3d at 418. For the foregoing reasons, the White
             House is likely to prevail against AP’s viewpoint
             discrimination claim.

                                             B.

                  With respect to the AP’s First Amendment retaliation
             claim, the district court concluded that the White House
             unlawfully retaliated against the AP for its protected speech,
             namely its decision to continue using Gulf of Mexico, rather
             than Gulf of America, in its Stylebook. We disagree. Picking
             and choosing journalists on the basis of viewpoint might be
             actionable in some contexts, such as when the White House
             opens its facilities “to all bona fide Washington-based
             journalists,” but this is not one of those circumstances. Sherrill,
             569 F.2d at 129 (cleaned up). The White House’s decision to
             exclude the AP from limited-access presidential events is not
             the type of action that counts as materially adverse for purposes
             of a retaliation claim.

                 “[T]he First Amendment prohibits government officials
             from subjecting individuals to retaliatory actions … for having
             engaged in protected speech.” Houston Cmty. Coll. System v.
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             Wilson, 142 S. Ct. 1253, 1259 (2022) (cleaned up). The
             government “may not deny a benefit to a person on a basis that
             infringes his constitutionally protected interests—especially,
             his interest in freedom of speech.” Perry v. Sindermann, 408
             U.S. 593, 597 (1972). The retaliation doctrine is rooted in the
             principle that “[o]fficial reprisal for protected speech offends
             the Constitution because it threatens to inhibit exercise of the
             protected right.” Hartman v. Moore, 547 U.S. 250, 256 (2006)
             (cleaned up).

                  To prevail on its First Amendment retaliation claim, the
             AP must demonstrate that (1) it engaged in protected
             expression; (2) a government actor took a materially adverse
             action against it; and (3) there is a causal relationship between
             the protected expression and the adverse action. Aref v. Lynch,
             833 F.3d 242, 258 (D.C. Cir. 2016); Wilson, 142 S. Ct. at 1260–
             61. The White House has narrowed our inquiry by frankly and
             publicly stating that it excluded the AP because of its protected
             speech, specifically, the AP’s refusal to adopt Gulf of America
             in its Stylebook. The only disputed question, therefore, is
             whether the AP’s exclusion from these spaces was a
             “materially” adverse action for the purposes of a First
             Amendment retaliation claim. Wilson, 142 S. Ct. at 1261
             (distinguishing between “material” and “immaterial” adverse
             actions, only the former of which gives rise to an actionable
             retaliation claim).

                  A materially adverse action is generally one that deprives
             a person of certain property rights or infringes a liberty interest.
             For instance, loss of employment or the withdrawal of a
             business license or permit may qualify as a materially adverse
             action. See, e.g., Mt. Healthy City Sch. Dist. Bd. of Educ. v.
             Doyle, 429 U.S. 274, 283–85 (1977) (decision not to rehire
             employee); Soranno’s Gasco, Inc. v. Morgan, 874 F.2d 1310,
             1314 (9th Cir. 1989) (suspension of regulated entity’s permits).
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             Other materially adverse actions include retaliatory arrest or
             prosecution. See Nieves v. Bartlett, 139 S. Ct. 1715, 1721–22
             (2019) (arrest); Hartman, 547 U.S. at 256–57 (prosecution). By
             contrast, courts have held that criticisms or reprimand do not
             constitute adverse actions. See, e.g., Wilson, 142 S. Ct. at 1259–
             60 (holding that a verbal censure by the board of a public
             college was not a materially adverse action, in part because
             censures have been a common feature of government
             assemblies since colonial times).

                  The White House’s choice of who to allow into the Oval
             Office is simply not like a decision about a government benefit
             or license. First Amendment concerns may be raised “[w]hen
             the government interacts with private individuals as sovereign,
             employer, educator, or licensor, … [b]ut those cases are not
             this one.” Id. at 1262. Choosing who may observe or possibly
             speak with the President in these spaces is not the type of action
             that supports a retaliation claim. Rather, it is more akin to a
             decision about how the President wields the bully pulpit.9

                  Furthermore, in determining whether a First Amendment
             retaliation claim is actionable, courts may be guided by “long
             settled and established practice[s].” Id. at 1259. White House

             9
                Our dissenting colleague emphasizes that the denial of a
             government benefit based on speech is often actionable. Pillard, J.,
             dissenting, at 7–8. While this is generally true, the press pool is in no
             way a government benefit program. Denying unemployment
             benefits, tax exemptions, or trademarks on the basis of viewpoint can
             support a First Amendment retaliation claim. Denying access to
             observe or speak with the President in his private spaces cannot. The
             dissent acknowledges that the President may take viewpoint into
             account when granting interviews to select journalists. Id. at 17–18.
             Our holding today reflects the fact that granting access to spaces such
             as the Oval Office is more like granting interviews than like denying
             unemployment benefits.
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             staff, not to mention the President, often form relationships
             with reporters who cover the administration. James A. Jacobs,
             The President, the Press, and Proximity, WHITE HOUSE
             HISTORICAL         ASSOCIATION        (Mar.        1,     2015),
             https://www.whitehousehistory.org/the-president-the-press-
             and-proximity. Hard pass holders and press pool members
             daily jockey for access to certain privileged spaces and to
             senior administration officials. As the AP acknowledges (and
             the district court recognized), the White House can and does
             reward journalists with advantages like interviews with the
             President and the opportunity to ask questions at press events.
             Such viewpoint-based preferences occur at every level of
             government in the relationship between elected officials and
             the press. See Baltimore Sun, 457 F.3d at 417 (describing how
             reporters routinely “cultivate access” to government officials).
             These pervasive practices simply do not give rise to a
             retaliation claim, regardless of how valuable the access may be.

                   The AP and the district court again lean heavily on the
             history of the press pool as an institution. But the AP cannot
             adversely possess a seat in the Oval Office, no matter how long
             its tradition of access. The press pool was a creation of the
             White House Correspondents’ Association, a private
             organization established by the press to manage itself. The
             press pool gave privileged access to certain outlets in the
             established media. Although the White House for many years
             accepted this private arrangement between journalists, that
             arrangement had no First Amendment status. Prior to the
             Correspondents’ Association’s inception, no defined press
             group covered the White House. Presidents decided which
             journalists received privileged access, and the type and
             frequency of access varied by administration. Jacobs, The
             President, the Press, and Proximity. The Trump administration
             has returned to the old system. It will no longer rely on the
             Correspondents’ Association to select the members of the press
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             pool and instead will determine for itself which journalists to
             admit to the Oval Office and other similar spaces for
             presidential events.

                  The AP also relies on the fact that the White House has not
             abolished or replaced the press pool and therefore cannot
             exclude journalists from the pool on the basis of viewpoint. The
             emphasis on the press pool as a standalone entity does not
             transform the AP’s exclusion into a materially adverse action.
             This is particularly true because the AP concedes it has no First
             Amendment right to privileged access within the press pool or
             to events in such restricted spaces as the Oval Office. The AP
             also acknowledges that the White House could, consistent with
             the First Amendment, discriminate on the basis of viewpoint in
             one-on-one interviews, small events on a particular subject
             matter, or even newsgathering by groups other than the
             established press pool. These realities of press coverage in the
             White House reinforce our conclusion that the AP’s exclusion
             from small group press events does not rise to the level of First
             Amendment retaliation.

                                            V.

                  We turn now to the remaining stay factors: “(2) whether
             the applicant will be irreparably injured absent a stay;
             (3) whether issuance of the stay will substantially injure the
             other parties interested in the proceeding; and (4) where the
             public interest lies.” Nken, 556 U.S. at 426 (cleaned up). In
             granting equitable relief, the stay factors are not applied
             mechanically and require “individualized judgments.” Id. at
             433 (cleaned up). We must focus on the particular facts of the
             case, exercising judgment “to balance the equities—to explore
             the relative harms to applicant and respondent, as well as the
             interests of the public at large.” Int’l Refugee Assistance
             Project, 137 S. Ct. at 2087 (cleaned up). In doing so, we are
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             mindful that a stay of a preliminary injunction involves the
             equitable review of an extraordinary and interim equitable
             remedy.

                  Both the AP and the Government have identified
             substantial harms if they are denied relief. The White House
             seeks a stay because the injunction intrudes upon “essential
             Presidential prerogatives.” Nixon v. Fitzgerald, 457 U.S. 731,
             743 (1982). It is “incontestable” that the Presidency comes with
             the power to use the office’s “bully pulpit.” Blassingame v.
             Trump, 87 F.4th 1, 14–15 (D.C. Cir. 2023) (cleaned up). The
             President’s discretion to choose with whom he will speak and
             travel is part of that power. On the other hand, the AP maintains
             that the deprivation of its First Amendment right to be free
             from unlawful viewpoint discrimination is an ongoing and
             substantial harm, one that also includes significant economic
             loss to its business. Elrod v. Burns, 427 U.S. 347, 373 (1976).

                  Although the constitutional interests are weighty on both
             sides, the harm to the White House outweighs the harm to the
             AP. Absent a stay, the injunction threatens to impede the
             President’s ability to select which members of the press to
             invite into his otherwise private workspaces. The AP, however,
             may continue to exercise its free speech rights in other spaces,
             including White House press facilities such as the Brady
             Briefing Room. While the AP has alleged financial loss from
             being denied access to the Oval Office, that harm does not, in
             our view, justify an intrusion on presidential prerogatives
             during this litigation.

                 Even if we considered the harms to be more evenly
             balanced, that would simply require us “to decide the
             emergency [stay] application by assessing likelihood of
             success on the merits.” Labrador v. Poe, 144 S. Ct. 921, 929
             (2024) (Kavanaugh, J., concurring in the grant of stay); see also
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             Washington Metro. Area Transit Comm’n v. Holiday Tours,
             Inc., 559 F.2d 841, 844 (D.C. Cir. 1977) (explaining that
             careful parsing of likelihood of success on the merits “may be
             necessary ... when interim relief would cause substantial harm”
             or “when the balance of equities” so requires). Here, we have
             already explained that the White House is likely to succeed
             against the AP’s challenge because the President has discretion
             to determine who is admitted to highly restricted presidential
             workspaces such as the Oval Office.

                  For the same reasons, the public interest favors a stay. See
             Nken, 556 U.S. at 435 (explaining the balance of harms and
             public interest factors “merge when the Government is the
             opposing party”). We conclude that the preliminary injunction
             intrudes on the independence of the Executive Branch and
             burdens the President’s exercise of core executive powers, and
             these harms warrant a stay with respect to the Oval Office, Air
             Force One, Mar-a-Lago, and other similar spaces.

                 We decline to stay the part of the preliminary injunction
             applicable to the East Room. The identified harms are less clear
             with respect to the East Room, which does not share the
             hallmarks of spaces like the Oval Office.

                                           ***

                  Throughout our nation’s history, presidents have held
             crucial meetings and made historic decisions in the Oval Office
             and on Air Force One. On occasion, they have welcomed the
             press to observe. But these restricted presidential spaces are not
             First Amendment fora, and the President retains discretion over
             who has access. Because we conclude the President may,
             consistent with the Constitution, exclude journalists from these
             spaces based on viewpoint, the White House is likely to prevail
             on its appeal of the preliminary injunction. Without a stay, the
             White House will suffer irreparable harm from the court’s
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             intrusion on presidential prerogatives. We therefore grant in
             part the White House’s motion for a stay pending appeal.
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                  PILLARD, Circuit Judge, dissenting: For almost a century,
             the White House has enabled the White House Press Pool, a
             limited number of credentialed media organizations, to cover
             the President at close range from inside the Oval Office, Air
             Force One, and other government-controlled spaces. White
             House staff determines which presidential activities and trips
             the Press Pool covers. But participation in the Press Pool or
             the broader White House press corps has never been
             conditioned on the viewpoint expressed outside the Pool by any
             participating news organization—until now. The issue here is
             whether, when the White House authorizes the Press Pool to
             travel with the President or observe an Oval Office meeting or
             signing, the White House may exclude journalists or news
             organizations based on their expression outside the Pool of
             views the President disfavors. Neither this court nor the
             Supreme Court has ever upheld the exclusion from a forum or
             denial of a benefit based on a private recipient’s viewpoint
             outside the forum or benefit program. Because the district
             court correctly enjoined just such exclusion here, I see no basis
             for a stay pending appeal.

                  In late January, the White House barred the Associated
             Press (AP) from the Press Pool solely and explicitly because
             the AP uses the term “Gulf of Mexico” in its reporting and
             editorial Stylebook rather than the President’s preferred “Gulf
             of America” moniker. The AP challenged its exclusion as
             unconstitutional viewpoint discrimination.        Following a
             hearing, the district court issued a preliminary injunction
             requiring White House staff to readmit the AP to Press Pool
             privileges on a viewpoint-neutral basis.

                 Defendants concede that they ousted the AP from the Press
             Pool based on the AP’s expression of its own views outside the
             Press Pool. They disavow any argument that the AP’s press
             coverage of the presidency, much less its Stylebook, constitutes
             government speech. They insist that they have not disbanded
             the Press Pool. And defendants’ only claim of “irreparable
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                                             2
             harm” is the continued operation of the White House Press Pool
             during this litigation in the same way it had operated since the
             Eisenhower Administration without apparent objection or
             challenge.

                  The panel’s stay of the preliminary injunction cannot be
             squared with longstanding First Amendment precedent,
             multiple generations of White House practice and tradition, or
             any sensible understanding of the role of a free press in our
             constitutional democracy.        Both its public-forum and
             retaliation analyses contravene the fundamental principle that
             the government may not leverage its allocation of valuable
             support to punish recipients for the viewpoints they express
             with their own time and resources. In my view, the clear and
             only choice is to deny the stay.

                                             I.

                   The White House Press Pool is a subset of the
             credentialled White House press corps that is regularly
             admitted to smaller spaces to facilitate press coverage of the
             President. The full press corps consists of more than 1,300
             “hard pass” holders whom the government has vetted and
             permitted to use dedicated press facilities in the White House,
             Budowich Decl. ¶ 3, ECF No. 33-1;1 Ateba v. Leavitt, 133 F.4th
             114, 117-18 (D.C. Cir. 2025), whereas the Press Pool ranges
             from 13 to 32 journalists depending on the specific event and
             space, Pl. Ex. A to Second Miller Decl., ECF No. 27-6. The
             criteria for press corps membership have evolved over time, but
             it is undisputed that the White House may not exclude reporters
             from the press corps based solely on their viewpoint. Ateba,
             113 F.4th at 122-23.


             1
              All citations to ECF numbers are to Associated Press v. Budowich,
             No. 25-00532.
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                                             3
                  When the White House decides to allow members of the
             press corps to cover newsworthy events occurring in limited
             spaces such as the Oval Office, it does so by inviting the Press
             Pool. See Hearing Tr. 82:6-13, ECF No. 45. Journalists in the
             Pool generate coverage for their own organizations and
             distribute “pool reports” to other media outlets that use them to
             inform their own coverage of the presidency. Knight Inst. Br.
             3-4, 8, ECF No. 31-1. By custom dating back to the
             Eisenhower Administration, presidential staff have relied on
             the White House Correspondents’ Association to determine
             which news organizations are eligible to participate in the Press
             Pool, either on a permanent or rotating basis. Knight Inst. Br.
             4; Hearing Tr. 97:4-24.

                  The right of journalists in the Press Pool to participate free
             from discrimination based on viewpoint “has endured even
             during the eras of rockiest relations between the White House
             and the press—during the Watergate investigations, and
             Independent Counsel Kenneth Starr’s investigation of
             President Bill Clinton.” Knight Inst. Br. 8. The Reagan
             Administration briefly sought to bar television journalists from
             the Press Pool—not based on viewpoint, but in an attempt to
             pressure TV outlets to come to consensus on which
             broadcasters would receive the available slots. Even that
             temporary and viewpoint-neutral exclusion was enjoined based
             on the “enduring and vital tradition of public entree . . . to the
             presidential activities covered by press pools.” Cable News
             Network, Inc. v. Am. Broadcasting Cos., Inc., 518
             F. Supp. 1238, 1244 (N.D. Ga. 1981). Until this case,
             Presidents might have openly criticized press coverage they
             received—including from outlets in the Press Pool—but none
             had ousted a participant from the Pool based on viewpoint. See
             Reporters Comm. Br. 8-9, ECF No. 54.
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                                            4
                  In addition to allowing the Press Pool into the Oval Office,
             Air Force One, and other limited spaces like the Cabinet Room
             and Mar-a-Lago, the White House also holds larger “limited-
             access” events in the East Room and other locations. Because
             the East Room can only accommodate approximately 180
             people, when such events are open to members of the press
             corps their attendance is typically capped and managed through
             an online RSVP tool. Budowich Decl. ¶¶ 12-13. Similar
             limited-access events occasionally take place at other locations,
             including outside the White House when the President travels.
             See Associated Press v. Budowich, No. 25-00532, __F. Supp.
             3d__, 2025 WL 1039572, at *5 (D.D.C. Apr. 8, 2025)
             (discussing limited-access event in West Palm Beach). White
             House staff confirms acceptance of press RSVPs to those
             events only up to the event’s press capacity. See Hearing Tr.
             80-81. Access to those events has also long been provided
             without regard to a journalist’s viewpoints expressed outside
             the event.

                  The AP, the plaintiff in this case, is a not-for-profit wire
             service founded in New York in 1846 that now licenses its text
             reporting and photojournalism to subscribers around the world.
             Heitmann Decl. ¶¶ 2-5, ECF No. 37-1. The AP’s customers
             include leading television networks, newspapers, and radio
             broadcasters both in the United States and abroad; the AP
             claims its journalism reaches four billion people every day.
             Compl. ¶ 3, ECF No. 1; Heitmann Decl. ¶ 5. Befitting its
             historical stature, the AP also is a founding member of the
             White House Press Pool. Compl. ¶ 26; Budowich, 2025 WL
             1039572, at *2.           For decades, the White House
             Correspondents’ Association assigned two of the 13 “core”
             spots in the Press Pool to the AP—one for a photographer, and
             one for a text reporter. Budowich, 2025 WL 1039572, at *2;
             Budowich Decl. ¶ 8; Compl. ¶ 27.
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                                           5
                  The AP’s inclusion in the Press Pool and ability to enter
             limited-access events on the same terms as other journalists
             was uncontested until this administration deemed its presence
             intolerable, expressly because of the AP’s failure to use
             President Trump’s new “Gulf of America” nomenclature in the
             AP’s own writing outside any official events. On January 20,
             2025, President Trump issued Executive Order 14172,
             “Restoring Names That Honor American Greatness,” which
             directed that the “area formerly known as the Gulf of Mexico”
             be renamed the “Gulf of America.” Exec. Order No. 14,172,
             90 Fed. Reg. 8629, 8630 (Jan. 31, 2025).              The AP
             acknowledged the renaming in its reporting, but for its own
             purposes continued to use the name “Gulf of Mexico,”
             including in its influential Stylebook, a writing and editing
             guide used throughout the media industry. Budowich, 2025
             WL 1039572, at *3. Defendants do not dispute that they
             excluded the AP’s reporters from the Press Pool and other press
             events solely because the AP’s reporting and Stylebook
             continued to refer to the Gulf of Mexico. See id. at *3-4; Pl.
             Ex. B to Second Pace Decl., ECF No. 28-2.

                  The AP sued the White House Chief of Staff, Deputy Chief
             of Staff, and Press Secretary in their official capacities.
             Following expedited briefing on the AP’s motion for a
             preliminary injunction, the district court held an evidentiary
             hearing and ruled in the AP’s favor. In a thorough and well-
             reasoned decision, the court preliminarily enjoined defendants
             from excluding the AP based on its viewpoint from the Press
             Pool or from other “limited-access” events open on a timely-
             RSVP basis to members of the larger press corps. The court
             ordered defendants to “immediately rescind the denial of the
             AP’s access” to spaces the White House opens to the Press Pool
             “when such spaces are made open to other members” of the
             Pool, and to “immediately rescind their viewpoint-based denial
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             of the AP’s access to events open to all credentialed White
             House journalists.” Budowich, 2025 WL 1039572, at *19.

                  The government appealed and sought an emergency stay
             of the district court’s preliminary injunction pending our
             decision on its merits. “A stay pending appeal is an
             ‘extraordinary’ remedy.” KalshiEX LLC v. CFTC, 119 F.4th
             58, 63 (D.C. Cir. 2024). Defendants have not carried their
             burden to demonstrate a “strong showing” of likely success on
             the merits. Id. Nor have they shown any legally cognizable
             harm from allowing the AP to participate in the Press Pool
             during the pendency of this appeal. I accordingly respectfully
             dissent from the order granting a stay.

                                           II.

                  No precedent of this court or the Supreme Court
             countenances denial of a government benefit or exclusion from
             a government-created program to otherwise eligible
             participants solely because of disagreement with a participant’s
             point of view expressed outside the benefit or program. Public
             officials often and inevitably disagree with publicly expressed
             views of the journalists or news organizations that cover them.
             Until now, every United States president has had the fortitude
             to tolerate the presence in the White House and Oval Office of
             credentialed journalists known to disagree with one or more
             government-preferred viewpoints. The First Amendment
             demands no less.

                                           A.

                  Defendants have not made the showing critical to their stay
             application that they are likely to succeed in establishing that
             the First Amendment allows them to oust journalists from the
             White House Press Pool based on their employing
             organization’s viewpoint. See Nken v. Holder, 556 U.S. 418,
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             434 (2009). Forum analysis readily confirms that failure. My
             colleagues’ effort to distinguish forum analysis is nonetheless
             beside the point because the bar on viewpoint discrimination in
             nonpublic forums for private speech is but one iteration of a
             broader First Amendment principle strongly supportive of the
             AP’s claims.

                  The majority’s defense of defendants’ viewpoint-based
             exclusion of the AP from the Press Pool utterly disregards that
             broader principle. So, too, does its assumption that the AP’s
             retaliation claim is likely to fail. Denial of a tangible benefit in
             retaliation for a recipient’s own viewpoint expressed elsewhere
             violates the First Amendment.

                  “At the heart of the First Amendment’s Free Speech
             Clause is the recognition that viewpoint discrimination is
             uniquely harmful to a free and democratic society.” Nat’l Rifle
             Ass’n of Am. v. Vullo, 602 U.S. 175, 187 (2024). Few
             constitutional doctrines are as firmly established as the
             principle that “ideologically driven attempts to suppress a
             particular point of view are presumptively unconstitutional.”
             Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S.
             819, 830 (1995). It is unsurprising, then, that the government
             could not identify a single case approving viewpoint
             discrimination—the most “egregious” form of speech
             restriction, Reed v. Town of Gilbert, 576 U.S. 155, 168 (2015)
             (citation omitted)—in circumstances bearing any material
             similarity to this case. Oral Argument Tr. 14:24-15:19. Given
             government officials’ perennial frustration with unflattering
             press coverage, the absence of supportive precedent for
             defendants’ action is striking.

                 The prohibition on viewpoint discrimination applies
             equally to the imposition of penalties and the denial of benefits.
             The government may not condition receipt of any otherwise-
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             available benefit or opportunity on a recipient’s endorsement
             or avoidance of a particular viewpoint. That rule applies to
             government benefits generally, including federal funding, tax
             exemptions, trademarks, government contracts, and public-
             sector employment. See Agency for Int’l Dev. v. All. for Open
             Soc’y Int’l, 570 U.S. 205, 213-14 (2013); Speiser v. Randall,
             357 U.S. 513, 528-29 (1958); Matal v. Tam, 582 U.S. 218, 243-
             44 (2017) (plurality opinion); id. at 248-49 (Kennedy, J.,
             concurring); Iancu v. Brunetti, 588 U.S. 388, 393-94 (2019);
             Bd. of Cnty. Comm’rs v. Umbehr, 518 U.S. 668, 678-81, 686
             (1996); Elrod v. Burns, 427 U.S. 347, 356-57 (1976). Even
             where a government program is designed to support a small
             number of speakers selected on discretionary, aesthetic criteria,
             it may not impose restrictions intended to punish “certain ideas
             or viewpoints.” Nat’l Endowment for the Arts v. Finley, 524
             U.S. 569, 586-87 (1998) (citation omitted). And even
             discretionary support to public broadcasters cannot be
             allocated to “curtail expression of a particular point of view.”
             FCC v. League of Women Voters, 468 U.S. 364, 380, 383-84
             (1984) (citation omitted). The majority errs in assuming that
             that deprivation of a property or liberty interest need be shown.
             Maj. at 21.

                  “If there is any fixed star in our constitutional
             constellation, it is that no official, high or petty, can prescribe
             what shall be orthodox in politics, nationalism, religion, or
             other matters of opinion . . . .” W. Va. State Bd. of Educ. v.
             Barnette, 319 U.S. 624, 642 (1943). Indeed, the government
             may not criminalize acts based on the viewpoint that motivated
             them, even if the conduct itself is criminal and not First
             Amendment protected. R.A.V. v. City of St. Paul, 505 U.S. 377,
             391-92 (1992). “It is axiomatic that the government may not
             regulate speech based on its substantive content or the message
             it conveys.” Rosenberger, 515 U.S. at 828. The only exception
             to the general rule is when the government engages in
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             expression of the government’s own viewpoint, that is, when it
             is engaged in government speech. Pleasant Grove City v.
             Summum, 555 U.S. 460, 467-68 (2009). But defendants
             expressly disavow that the AP’s Stylebook or other references
             to the Gulf of Mexico constitute government speech. The
             upshot is that no general program for admitting the press to the
             White House or the Oval Office can exclude a press outlet
             based on its viewpoint.

                  The President’s use of the Oval Office as a platform for his
             official speech does not entail governmental authority to
             impose viewpoint restrictions on the Press Pool. Even where
             the government funds private organizations to advance official
             policy and therefore can control the viewpoint expressed within
             the funded program, it may not deny support based on
             disapproval of the recipient’s speech outside that program. The
             government may not require private participants to “adopt—as
             their own—the Government’s view on an issue of public
             concern as a condition of funding.” Agency for Int’l Dev., 570
             U.S. at 218. That is why the Supreme Court in Agency for
             International Development held that the government violated
             the First Amendment rights of an organization receiving public
             support to advance the government’s HIV/AIDS prevention
             mission when it required the organization to echo the
             government’s opposition to prostitution in the organization’s
             own work with its own funds. Id. at 218-21. The rule that
             public funds may be limited to the purpose for which they are
             granted does not empower the government to impose viewpoint
             restrictions on grantees’ private speech. Rust v. Sullivan, 500
             U.S. 173, 197 (1991) (holding that the government may not
             restrict “the recipient from engaging in the protected conduct
             outside the scope of the federally funded program” as a
             condition of funding).
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                                           10
                  Whatever my colleagues mean by emphasizing that Oval
             Office events “involve” governmental speech because the
             President typically speaks there, Maj. at 19, the Press Pool’s
             coverage of those events—let alone the content of the AP’s
             Stylebook—is not governmental speech legitimately subject to
             official viewpoint control. My colleagues are also wrong that
             the “essential function” of the Oval Office is “defeated” by the
             presence of a Press Pool free from viewpoint discrimination.
             Id. The Press Pool has operated without viewpoint control for
             almost a century during which presidents have communicated
             directly from the Oval Office. The purpose of the Press Pool
             has never been to propagandize for the President, but only to
             enable reliable news coverage of his leadership. Public
             officials’ prerogative to speak for the government does not
             include any ability to control private parties’ speech on their
             own behalf, even when that speech relates to the government’s
             message.

                   Defendants concede that the AP had been barred from the
             Press Pool solely because of references to the Gulf of Mexico
             in its own writing. Hearing Tr. 190:17-24; see also Budowich,
             2025 WL 1039572, at *3. They gave no other, constitutionally
             defensible basis for the AP’s exclusion. There is no finding—
             nor was there any evidence—that the AP’s activity within the
             Press Pool was inappropriate, disruptive, distracting, an
             invasion of privacy, or in any other way distinguishable from
             that of representatives of the media outlets that the White
             House still allows to report from the Oval Office. And
             defendants have (correctly) disavowed the argument that their
             discriminatory treatment of the AP can be understood as
             regulation of the government’s own speech. Budowich, 2025
             WL 1039572, at *10; see Oral Argument Tr. 4:8-17.

                 The only basis for defendants’ action is that the AP had
             expressed—outside the Oval Office and while speaking in its
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                                           11
             own capacity with no government support—a point of view
             that the White House disagreed with and sought to “suppress.”
             Minn. Voters All. v. Mansky, 585 U.S. 1, 12 (2018) (quoting
             Perry Educ. Ass’n v. Perry Local Educators Ass’n, 460 U.S.
             37, 46 (1983)). Even without any forum analysis, that resolves
             this case.

                                           B.

                  Forum analysis powerfully reinforces that conclusion.
             The AP’s exclusion from the Press Pool violates the bedrock
             principle that the government may not exclude private speakers
             from a government-created forum, even a nonpublic forum,
             based on their viewpoint. See, e.g., Mansky, 585 U.S. at 11-12;
             Perry Educ. Ass’n, 460 U.S. at 46; Int’l Soc’y for Krishna
             Consciousness v. Lee (ISKCON), 505 U.S. 672, 678-79 (1992).
             When the government imposes restrictions on the use of public
             property for private expression, such as by limiting speech
             “only in a specific location,” the government must abide by the
             First Amendment’s public forum doctrine. Mansky, 585 U.S.
             at 11. Every type of forum recognized under the First
             Amendment, be it a “traditional public forum,” “designated
             public forum,” “limited public forum,” or “nonpublic forum,”
             shares a baseline prohibition on viewpoint discrimination. See
             ISKCON, 505 U.S. at 678-79.

                  The Press Pool readily qualifies as at least a nonpublic
             forum. Spaces that White House staff open for journalists’
             newsgathering and nongovernmental communication have
             consistently been held to be nonpublic forums. See Ateba, 133
             F.4th at 122-23. The default category in forum analysis is the
             nonpublic forum, which includes “all remaining public
             property” that does not qualify as a traditional, designated, or
             limited public forum.       ISKCON, 505 U.S. at 678-79.
             Nonpublic forums include any government-controlled space
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             that “is not by tradition or designation a forum for public
             communication,” but where private expressive activity
             nonetheless occurs. Mansky, 585 U.S. at 11 (quoting Perry
             Educ. Ass’n, 460 U.S. at 46). A space can qualify as a
             nonpublic forum even if it was not specifically opened “for
             purposes of providing a forum for expressive activity,” so long
             as “such [private expressive] activity occurs.” Cornelius v.
             NAACP Legal Def. & Educ. Fund, 473 U.S. 788, 805 (1985).

                  The White House Press Pool is a forum even when it
             convenes outside the White House, such as on Air Force One
             or at Mar-a-Lago. A public “space” may refer to “a forum more
             in a metaphysical than in a spatial or geographic sense, but the
             same principles are applicable.” Rosenberger, 515 U.S. at 830;
             see id. (public university funding opportunity for student
             activities); Cornelius, 473 U.S. at 797 (federal government’s
             Combined Federal Campaign charity drive); Perry Educ.
             Ass’n, 460 U.S. at 48-49 (public school’s internal mail system).
             In a nonpublic forum, the government enjoys the most
             “flexibility to craft rules limiting speech” and “may reserve
             such a forum ‘for its intended purposes, communicative
             or otherwise,’” but any such limits must be “‘reasonable and
             not an effort to suppress expression merely because public
             officials oppose the speaker’s view.” Mansky, 585 U.S. at 11-
             12 (emphasis added) (quoting Perry Educ. Ass’n, 460 U.S. at
             46).

                  The application of nonpublic forum analysis in this case is
             straightforward. The Press Pool is not materially distinguish-
             able from previously recognized nonpublic forums. In Sherrill
             v. Knight, 569 F.2d 124 (D.C. Cir. 1977), we held that, in light
             of the “important [F]irst [A]mendment rights implicated by
             refusal to grant White House press passes to bona fide
             Washington journalists, such refusal must be based on a
             compelling governmental interest” and cannot be “based upon
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             the content of the journalist’s speech.” Id. at 129-30. In Ateba,
             we had “no trouble” confirming that, while “Sherrill predated
             modern forum analysis, its description of the [White House]
             Press Area fits the definition of a nonpublic First Amendment
             forum” for which regulations on expression must be
             “viewpoint neutral.” 133 F.4th at 122-23.

                  There is no principled basis for exempting the press’s
             activities in any White House “press area” from the
             requirement of viewpoint neutrality. When the White House
             Press Pool convenes in the Oval Office, just as when the
             broader press corps convenes in another White House location,
             it does so to engage in newsgathering. To that end, Pool
             members communicate text and photos to editors and the
             broader public, all of which is nongovernmental “expressive
             activity occurring on federal property.” Cornelius, 473 U.S. at
             805. The Press Pool convenes at times identified by White
             House staff. It works in proximity to the President because the
             White House itself has established, through decades of practice
             and formal policy, that one of the “intended purposes” of the
             spaces closest to him is to enable the press to cover the
             President. See Perry Educ. Ass’n, 460 U.S. at 46; see also
             Reporters Comm. Br. 7-10 (discussing the history of the Press
             Pool). “Gathering information about government officials in a
             form that can readily be disseminated to others serves a
             cardinal First Amendment interest in protecting and promoting
             the free discussion of governmental affairs.” Price v. Garland,
             45 F.4th 1059, 1070-71 (D.C. Cir. 2022) (quoting Glik v.
             Cunniffe, 655 F.3d 78, 82 (1st Cir. 2011)).

                  The government confirmed that the White House has not
             abolished the Press Pool. Oral Argument Tr. 69:13-18. First
             Amendment questions as to how and why the government
             might replace the Pool with a different system for press access
             are not before us. Nor is this a case of permissible restrictions
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             on expression within the Pool “based on subject matter [or]
             speaker identity.” Cf. Cornelius, 473 U.S. at 806. Defendants
             identify nothing about the AP—apart from its own viewpoint
             expressed outside the forum—as disqualifying it from the Press
             Pool. What the government seeks to defend here is the
             exclusion of one news outlet based on its disfavored viewpoint.

                  Defendants insist that applying forum analysis here is
             “startlingly counterintuitive,” because the Press Pool convenes
             in “intimate spaces” that are “restricted” and function as “the
             personal office space” of the President. Stay Mot. 13. As
             discussed above, even apart from forum analysis, the White
             House is barred from denying benefits based on the recipient’s
             viewpoint expressed outside the program, so it is hardly
             startling that forum analysis leads to the same conclusion.

                  In any event, defendants offer no support for excepting the
             Press Pool from forum analysis. The fact that the Oval Office
             is generally closed to the public is simply another way of
             saying that it is “not by tradition or designation a forum for
             public communication,” i.e. that it is a nonpublic forum.
             Mansky, 585 U.S. at 11 (quoting Perry Educ. Ass’n, 460 U.S.
             at 46). Government office buildings are paradigmatic
             nonpublic forums. Ateba, 133 F.4th at 121-22. And the
             security restrictions applicable to the Oval Office do not alter
             the calculus. The entire White House is under tight security,
             but when spaces within are open to White House-credentialed
             journalists, exclusions are impermissible if “based upon the
             content of the journalist’s speech.” Sherrill, 569 F.2d at 129;
             see also Ateba, 133 F.4th at 122-23. That same principle
             applies when the Oval Office is open to the Press Pool.

                  Defendants’ suggestion that the First Amendment is
             inapplicable because journalists’ activities in the Press Pool are
             not communicative, see Stay Mot. 14-15, is wrong as a factual
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             and legal matter. As for the facts, the district court found that,
             when journalists are in the Press Pool, they consistently engage
             in “near-instantaneous” communication with editors, other
             reporters, and (by extension) the broader public when in the
             Oval Office. Budowich, 2025 WL 1039572, at *11. The
             government makes no clearly-erroneous challenge to that
             finding.

                  The law, too, is on the AP’s side in treating newsgathering
             as communicative. Defendants rely on Price v. Garland, which
             held public forum analysis inapplicable to a restriction on
             filmmaking in public parks insofar as the restriction applied to
             the noncommunicative act of taping the film for potential
             future screening. 45 F.4th at 1069-71. But Price itself
             distinguishes its facts from newsgathering. It disclaims the
             applicability of its holding to “[g]athering information about
             government officials in a form that can readily be disseminated
             to others”—that is, “news-gathering.” Id. at 1070-71, 1075
             (formatting altered); see also id. at 1071 n.*** (noting that
             “[f]orum analysis may well apply to live streaming, which is
             communicative activity, albeit to people who are not
             necessarily located in the forum in which the streaming is
             conducted.”).

                  More to the point, even as Price declined to apply public
             forum analysis to filmmaking that it deemed
             “noncommunicative,” it applied the nonpublic forum standard
             that the AP relies on here, confirming that any “restriction must
             not discriminate against speech on the basis of viewpoint, and
             the restriction must be reasonable in light of the purpose served
             by the forum.” Id. at 1072 (emphasis added) (quoting Good
             News Club v. Milford Cent. Sch., 533 U.S. 98, 106-07 (2001));
             see also id. at 1076 (Henderson, J., concurring). The same is
             true of Bryant v. Gates, on which the majority also relies, Maj.
             at 19. 532 F.3d 888, 897 (D.C. Cir. 2008) (noting that a
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             military newspaper’s advertising section that rejected plaintiff
             ads was a “nonpublic forum” for which restrictions on speech
             “need only be reasonable in light of the purposes of the forum
             and viewpoint-neutral.”) (emphasis added). Both Price and
             Bryant affirmatively support the AP’s claim that the
             government’s action to suppress its viewpoint violates the First
             Amendment.

                  Contrary to defendants’ suggestion, forum analysis does
             not require the intended audience to be “physically present in
             the putative forum.” Stay Mot. 14. See Maj. at 17 (similarly
             suggesting that forum analysis does not apply when the
             expressive activity is directed “outside the forum”). The
             importance of free expression via radio, broadcast, and—
             increasingly—digital communication confirms why applying a
             “physical presence” requirement to forum analysis would be
             nonsensical and arbitrary. The Supreme Court in Arkansas
             Educational Television Commission v. Forbes, 523 U.S. 666
             (1998), used forum analysis to consider a candidate’s claim of
             exclusion from a debate on public television even though its
             audience was doubtlessly not limited to people “physically
             present in the putative forum.” Id. at 676. What is more,
             neither the government nor the majority makes any effort to
             explain how, if newsgathering in the Oval Office is directed
             “outside the forum,” the same is not equally true of the
             admittedly protected activity of the broader press corps in
             places like the Brady Briefing Room. They cannot square
             viewpoint-based prohibitions on uses of digital media on
             government property with the First Amendment.

                  Defendants’ (and the majority’s) principal argument is that
             the President has unlimited discretion to pick “which
             journalists to grant special access unavailable to other members
             of the press corps.” Stay Mot. 16. Their sole precedent is
             Baltimore Sun Co. v. Ehrlich, 437 F.3d 410 (4th Cir. 2006),
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             which is both inapposite and not binding on this court. The
             plaintiff journalists in Baltimore Sun objected to government
             officials’ refusal to grant them interviews or return their calls.
             Id. at 413. Judicial relief would have required the defendants
             to speak with certain reporters. Any such command would
             have strained the basic principle that “[t]he First Amendment’s
             Free Speech Clause does not prevent the government from
             declining to express a view,” and that the government may
             choose for itself “what to say and what not to say.” Shurtleff v.
             City of Boston, 596 U.S. 243, 251 (2022); see also Pleasant
             Grove City, 555 U.S. at 467 (“A government entity has the right
             to ‘speak for itself.’”) (quoting Bd. of Regents of Univ. of Wis.
             Sys. v. Southworth, 529 U.S. 217, 229 (2000)).

                  The AP does not assert a right to have the President return
             its phone calls, or to “interact and speak with government
             officials.” See Budowich, 2025 WL 1039572, at *12-13. What
             the AP challenges is its reporters’ and photographers’
             exclusion from a government program for which it is otherwise
             fully eligible and has long participated, based solely on the
             AP’s own expression in its Stylebook and reporting. The
             district court assumed that “government officials cannot be
             forced to speak with reporters,” but distinguished Press Pool
             participation from the individualized invitations to interview
             the President or other government officials at issue in
             Baltimore Sun. Id. at *13. Unlike invited interviews that
             “would not happen but for the outlet’s presence,” the Press
             Pool covers events that “would happen whether any particular
             outlet had a reporter there or not.” Id. The district court also
             noted that Press Pool members are often at a distance that
             prevents them from having interview-like “substantive
             conversation[s]” with officials the Pool covers. Id. Moreover,
             when the President decides whom to call back or invite in for
             an exclusive interview, he is engaged in government speech
             and choosing who to employ in expressing his message. That
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             government speech function is simply not at issue here, and
             defendants have properly disavowed that their exclusion of the
             AP turns on any government speech. The fact that one need
             not return every press call does not mean one can exclude
             journalists from general newsgathering opportunities based on
             their disfavored views outside the program.

                  The defendants do not engage with those distinctions but
             sweep them aside to assert a legal prerogative of unprecedented
             breadth. In their view, “when the President deals with the
             press, he is permitted to consider the nature of a journalist’s
             coverage in deciding how much access to give them.” Stay
             Mot. 19. But the “access” to interview government sources in
             Baltimore Sun should not be conflated with “access” to forums
             on government property that are established to enable
             journalists to report on the government’s activities. We have
             held that the White House may not deny those reporters that
             “special access” solely because they dislike the reporters’
             viewpoints. Sherrill, 569 F.2d at 129; see Ateba, 133 F.4th at
             121-23. The Seventh Circuit in John K. MacIver Inst. for Pub.
             Policy, Inc. v. Evers, 994 F.3d 602 (7th Cir. 2021)—an out-of-
             circuit case that, unlike Baltimore Sun, is directly relevant to
             the issue before us—recognized the same distinction when it
             held that the Wisconsin governor’s limited-access press
             conferences (unlike individual interviews) were nonpublic
             forums as to which viewpoint discrimination was
             constitutionally prohibited. Id. at 607, 610.

                  My colleagues further reason that the President has an
             unlimited power to allocate necessarily restricted benefits like
             Press Pool membership, and that the Press Pool’s activities are
             sufficiently closely related to government speech to lose
             independent First Amendment protection. Maj. at 17-19. Both
             steps of that analysis are off base. The limited size of the Press
             Pool does not open the door to viewpoint-based selection.
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             Contrary to my colleagues’ characterization of Finley, Maj. at
             17-18, even when analyzing the limited set of grants at issue
             there, the Supreme Court acknowledged that would have been
             a “different case” if the government engaged in “invidious
             viewpoint discrimination” in its allocation of arts grants. 524
             U.S. at 586-87. And, while my colleagues suggest that forum
             analysis is inapplicable because the AP’s activities somehow
             “involve” government speech, Maj. at 19, the government itself
             disavows reliance on government speech—for good reason.
             The Supreme Court has expressly warned against such
             “dangerous misuse” of the government speech doctrine: “If
             private speech could be passed off as government speech by
             simply affixing a government seal of approval, government
             could silence or muffle the expression of disfavored
             viewpoints.” Matal, 582 U.S. at 235 (Alito, J., delivering the
             opinion of the court). The AP’s references to the Gulf of
             Mexico speak only for the AP, not the government.

                  The majority’s characterization of the Press Pool is also
             problematic because it seems equally applicable to the entire
             White House press corps, which we have squarely held is
             protected from viewpoint discrimination. The press corps, like
             the Pool, is a select subset of journalists seeking to gather news
             and engage in nongovernmental expression in a manner that,
             by the majority’s terms, apparently “involves” the
             government’s efforts to communicate to the public. But my
             colleagues duck the question whether their position applies to
             access to other White House spaces like the East Room. Maj.
             at 26. Their attempts to distinguish the Brady Room are also
             contrary to precedent, as they seem to rest either on arbitrary
             numerical cutoffs or the notion that a space must be opened
             “for purposes of providing a forum for expressive activity” to
             merit First Amendment protections—a prerequisite the
             Supreme Court has expressly disavowed for nonpublic forums.
             Cornelius, 473 U.S. at 805; cf. Maj. at 11, 18-19.
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                  None of this analysis rests on any affirmative right of AP
             reporters to be present in the Oval Office. Plaintiffs do not
             argue that the White House is constitutionally obliged to
             operate a Press Pool, any more than the government in
             Cornelius was required to organize the Combined Federal
             Campaign for charitable fundraising, the school district in
             Perry Education Association was required to establish an
             internal school mail system, or the television station in
             Arkansas Educational Television Commission was required to
             host a candidate debate. But once the government chooses to
             permit a forum for private expression in a government-
             controlled space, the First Amendment forbids viewpoint-
             based restrictions on who may participate. That is why neither
             government counsel nor my colleagues cite a single case
             permitting viewpoint-based exclusion from nonpublic
             forums—or, indeed, any case permitting the government to
             condition a government benefit on a private recipient’s
             viewpoint expressed outside the government funded program.
             Defendants have not shown a “strong likelihood” under
             existing precedent that they will succeed on the merits, as they
             must do to establish entitlement to a stay pending appeal of the
             district court’s injunction.

                                           C.

                  The government’s defense against the retaliation claim is
             unlikely to succeed for all the same reasons. The majority
             concludes that the AP suffered no retaliation because its
             exclusion from the Press Pool was “not a materially adverse
             action” for First Amendment purposes. Maj. at 22. The
             majority reasons that the government did not impose a
             punishment on the AP or deprive it of property, and so no
             retaliation occurred. But as discussed above, the exclusion was
             retributive, and in any event the First Amendment prohibits
             even the denial of wholly discretionary support or benefits in
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             retaliation for a recipient’s exercise of speech rights outside the
             supported activity or program.

                  When an organization accepts government support—
             including support to advance the government’s message—the
             government cannot condition it on viewpoint-based restrictions
             on private recipients’ independent speech.           Thus, the
             government could not deny HIV/AIDS prevention funding to
             Alliance for Open Society based on that group’s viewpoint,
             even though the Alliance had no independent right to receive
             government funding for such activity. Agency for Int’l Dev.,
             570 U.S. at 218. It could require recipients of Title X funding
             to refrain from abortion advocacy in the Title X program itself,
             but could not impose viewpoint restrictions on recipient
             organizations’ “separate and independent” activities. Rust, 500
             U.S. at 196-97. Artists have no freestanding “right” to
             government funding by the National Endowment for the Arts,
             nor does the Corporation for Public Broadcasting have any
             independent “right” to government support. But in each
             instance, denying such benefits based on the recipients’
             viewpoints would violate the First Amendment, especially
             where those views were expressed outside the government
             benefit altogether as the AP’s were here. The majority’s novel
             contention that speech-based retaliation claims require a
             deprivation of a property right or infringement of a liberty
             interest are directly at odds with the principles outlined in
             Agency for International Development, Rust v. Sullivan, FCC
             v. League of Women Voters, and NEA v. Finley.

                  My colleagues seek to analogize the AP’s treatment to that
             suffered by the plaintiff in Houston Community College System
             v. Wilson, 595 U.S. 468 (2022). But in Wilson, an elected
             official received only a “purely verbal censure” in response to
             his expression. Id. at 475. Nobody disputes that the White
             House may, in its own speech, criticize the AP’s viewpoint.
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             But excluding the AP from even a wholly discretionary federal
             benefit goes far beyond that.

                                            III.

                  Defendants have also failed to demonstrate the second
             “critical” Nken factor—that they will suffer irreparable harm
             absent a stay. 556 U.S. at 434. The district court’s preliminary
             injunction forbids exclusion of the AP’s journalists “based on
             the AP’s viewpoint when such spaces are made open to other
             members of the White House press pool.” Budowich, 2025 WL
             1039572, at *19. The district judge observed that the “defense
             has not argued that an injunction would affect [the President’s]
             constitutional authority in any way.” See id. at *19 n.9.

                   Defendants assert they are harmed because the injunction
             “restricts the White House’s discretion from making its own
             judgments about whom it will admit into some of the most
             restricted spaces on the planet.” Stay Mot. 21-22; see Stay
             Reply 9 (asserting that “the President has been forced to
             relinquish control over who may enter the Oval Office”). But
             it is the White House staff, not the members of the Press Pool,
             who decide when the Pool reports from the Oval Office. And
             the injury as defendants define it would seem to flow from the
             presence of unaligned reporters anywhere in the White House.
             Yet our circuit’s precedent is clear that viewpoint-based
             restrictions on White House press access to other areas violate
             the First Amendment. Sherrill, 569 F.2d at 129. We have so
             held even though we thereby restrict the White House’s
             discretion over places under the highest levels of government
             control. Inherent in the notion of forum analysis is that, when
             it permits the use of public resources for private expression, the
             government cannot exclude selected private speakers whose
             views it dislikes.
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                  Counsel for the government belatedly argued that the
             presence in the Oval Office of journalists with disfavored
             viewpoints irreparably harms the President’s “dignity” or
             “autonomy.” Oral Argument Tr. 28-29, 70-71. In a similar
             vein, my colleagues assert that barring viewpoint
             discrimination against Press Pool members impairs Executive
             “independence.” Maj. at 1, 26. But the effect of the
             preliminary injunction is confined to disabling defendants from
             “suppress[ing] expression merely because public officials
             oppose the speaker’s view.” Mansky, 585 U.S. at 12 (quoting
             Perry Educ. Ass’n, 460 U.S. at 46). The uncontested record
             evidence establishes that every President since at least
             Eisenhower has endured the only real-world injury asserted by
             the government here: the proximity on government property of
             some member of the press associated with a view the President
             disfavors. That “injury” is ubiquitous and inescapable in every
             single public official’s engagement in the rough and tumble of
             the political arena. The notion that any public official—let
             alone the President of the United States—could be irreparably
             harmed by attendance within the Press Pool of the carefully
             vetted, nondisruptive journalists who work for the AP is
             extraordinary.

                  Finding irreparable harm to Executive dignity, autonomy,
             or independence in the context of this case so attenuates Nken’s
             irreparable harm factor as to nullify it in cases in which the
             Executive seeks a stay. I cannot credit such a novel and
             amorphous approach to the requirement of a showing of
             irreparable harm.

                                           IV.

                  The balance of equities and the public interest also
             disfavor staying the district court’s injunction. As the district
             court correctly found, the AP suffers irreparable injury when it
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             is excluded from press events because of its viewpoint. “The
             loss of First Amendment freedoms, for even minimal periods
             of time,” constitutes irreparable harm when the plaintiff
             “demonstrates that First Amendment interests are either
             threatened or in fact being impaired at the time relief is sought.”
             Nat’l Treasury Emps. Union v. United States, 927 F.2d 1253,
             1254 (D.C. Cir. 1991) (Thomas, J.) (formatting altered). And
             the AP is also suffering significant competitive harms as its
             exclusion undermines its position in the global media market.
             In its stay motion, the government did not dispute the district
             court’s conclusion that those losses, too, are likely to be
             irreparable. See Budowich, 2025 WL 1039572, at *18.

                  The public interest also overwhelmingly favors press
             outlets’ ability to report on public officials, including the
             President in the Oval Office, without the government punishing
             some and thereby chilling others into self-censorship if they
             use words that politicians dislike. The harm of publicly
             punishing disfavored viewpoints “does not end” with an
             individual target but extends “to other pillars of our
             constitutional order” who thereby learn “they engage in
             protected activity at their peril.” Jenner & Block LLP v. U.S.
             Dep’t of Justice, No. 25-916, __F. Supp. 3d__, 2025 WL
             1482021, at *23 (D.D.C. May 23, 2025) (formatting altered).

                  “Not only newsmen and the publications for which they
             write, but also the public at large have an interest protected by
             the [F]irst [A]mendment in assuring that restrictions on
             newsgathering be no more arduous than necessary, and that
             individual newsmen not be arbitrarily excluded from sources
             of information.” Sherrill, 569 F.2d at 129-30. That is why the
             Supreme Court recognized that “news gathering is not without
             its First Amendment protections,” and that “[o]fficial
             harassment of the press . . . to disrupt a reporter’s relationship
             with his news sources would have no justification.” Branzburg
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             v. Hayes, 408 U.S. 665, 707-08 (1972). Even Newsmax, a
             media outlet not known for criticizing President Trump, joined
             with scores of news outlets to express dismay at the AP’s ban
             because “a future administration may not like something
             Newsmax writes and seek to ban us.” Reporters Comm. Br. 5.

                  The First Amendment recognizes press freedom as vital to
             an informed citizenry. Constitutional protection of news
             organizations from official punishment for what they say is
             essential to “the free discussion of governmental affairs” that
             the public relies on to “effectively participate in and contribute
             to our republican system of self-government.”               Globe
             Newspaper Co. v. Superior Ct. for Norfolk Cnty., 457 U.S. 596,
             604 (1982) (formatting altered). The central function of press
             freedom is fatally weakened when the government bullies press
             outlets into compliance by depriving them of otherwise
             available forums for expression based on their viewpoint. The
             public interest is powerfully served by the district court’s order
             preliminarily enjoining defendants’ undisputedly viewpoint-
             based punishment of the AP.

                                            V.

                 In granting a stay, my colleagues assert a novel and
             unsupported exception to the First Amendment’s prohibition of
             viewpoint-based restrictions of private speech—one that not
             even the government itself advanced. And they accept an
             equally unprecedented notion of harm to presidential
             “independence” when professional journalists are “permit[ted]
             to observe him” from the Press Pool despite the President’s
             disagreement with something their news organization
             published. Stay Mot. 1, 22.

                 Make no mistake as to why it matters that the panel
             majority accepts these theories. In the short term, the court
             allows the White House to rely on viewpoint to exclude the AP
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             from the Press Pool pending a final decision on the merits, a
             process that typically takes months. And, looking further
             ahead, if any merits panel were to accept those theories, the
             result would be a Press Pool—and perhaps an entire press
             corps—limited during Republican administrations to the likes
             of Fox News and limited to outlets such as MSNBC when a
             Democrat is elected. More to the point, if the White House
             were privileged to exclude journalists based on viewpoint, each
             and every member of the White House press corps would
             hesitate to publish anything an incumbent administration might
             dislike. Factually accurate journalism unflattering to the
             incumbent administration would not long endure.

                  The press corps and its avatar Press Pool were established
             and preserved for generations to foster the objective coverage
             of the United States presidency that has been a defining
             element of our constitutional democracy. The Press Pool is one
             of the most consequential forums for national political news
             reporting. And the AP is a respected and established wire
             service that functions as a vital source of news for a daily
             domestic and international audience of billions of readers,
             including countless news organizations at home and around the
             world that rely on the AP’s coverage. The First Amendment
             undeniably protects the AP’s right to its own opinion. Yet the
             White House has defiantly conditioned the AP’s participation
             in the Press Pool on the organization’s endorsement of the
             President’s official decision to rename the Gulf of Mexico as
             the Gulf of America. Purporting to respect the First
             Amendment while allowing exclusion of journalists from the
             Press Pool based on viewpoint will quickly erode the
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             independence of any press outlet hoping to retain the chance to
             cover the White House at close range.

                  In my view, the government does not come close to
             establishing entitlement to a stay. I therefore respectfully
             dissent.
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            ADDENDUM B
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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to D.C. Circuit Rule 28, Plaintiff-Appellee the Associated Press

certifies as follows:

      A.     Parties and Amici
      Plaintiff-Appellee is The Associated Press.

      Defendants-Appellants are Taylor Budowich, in his official capacity as

White House Deputy Chief of Staff; Karoline C. Leavitt, in her official capacity as

White House Press Secretary; and Susan Wiles, in her official capacity as White

House Chief of Staff.

      The White House Correspondents’ Association, the Reporters Committee for

Freedom of the Press, the Center for American Rights, the Knight First

Amendment Institute at Columbia University, and the State Democracy Defenders

Fund participated as amici curiae in the District Court.

      B.     Rulings Under Review

      Plaintiff-Appellee seeks en banc reconsideration of the special panel’s

decision, issued June 6, 2025, staying in part the Memorandum Order issued by the

Honorable Trevor N. McFadden on April 8, 2025, which granted the Associated

Press’s Amended Motion for Preliminary Injunction. The special panel’s decision

is attached as Addendum A. The District Court ruling is available on Westlaw at

2025 WL 1039572.
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      C.     Related Cases

      This case has not previously been before this Court or any court other than

the District Court. Undersigned counsel is unaware of any related cases within the

meaning of D.C. Circuit Rule 28(a)(1)(C).

      D.     Rule 26.1 Corporate Disclosure Statement

      The Associated Press is a news cooperative incorporated under the Not-for-

Profit Corporation Law of New York and has no parents, subsidiaries or affiliates

that have any outstanding securities issued to the public.

 Dated: June 10, 2025                   Respectfully submitted,

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